UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JANE DOE (A PSEUDONYM),                                                    COMPLAINT

                 Plaintiff,                                                Case No.

        —against—                                                          PLAINTIFF
                                                                           DEMANDS A
YESHIVA UNIVERSITY, ANDREW “AVI” LAUER,                                    TRIAL BY JURY
ESQ., CHAIM NISSEL, SEYFARTH SHAW, LLP,
DOV KESSELMAN, ESQ., and EMILY MILLER, ESQ.,

                 Defendants.
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“After [I was raped by a Yeshiva University Student and my rapist was determined “not
responsible” by Yeshiva University’s Title IX Office following a so-called “independent
investigation”], I started to realize that there is indeed a rape culture at Yeshiva
University, and it enables rapists to rape without fear of getting in trouble. YU is not an
exception to the rule—its founding pillars have become weak. . . . Students are not safe
on campus, and the school cares too much about its image to restore its values or do
anything about it. Rape culture is real at YU, and it needs to be taken seriously.”

—Plaintiff, “Jane Doe,” as quoted in the Yeshiva University Commentator, “I Thought
Rape Culture Didn’t Exist at YU—Until I Was Raped,” August 25, 2021


                                            Respectfully submitted by:

                                            KEVIN T. MULHEARN, P.C.

                                            60 Dutch Hill Road, Suite 6B
                                            Orangeburg, NY 10962
                                            Phone: (845) 613-7059
                                            kmulhearn@ktmlaw.net

                                            Attorneys for Plaintiff, JANE DOE
        Plaintiff, JANE DOE (A Pseudonym), by and through her attorneys,

Kevin T. Mulhearn, P.C., complaining of the Defendants, hereby alleges

that:

                                 OVERVIEW

        1.   On January 24, 2021, Plaintiff, a full-time Yeshiva University

(“YU”) student and student-athlete in her early 20s, was raped by “PERRY

DOE,” a full-time YU student and member of YU’s Varsity Basketball

Team, at his Washington Heights apartment.

        2.   On or about February 18, 2021, Plaintiff filed a formal Title IX

Complaint against her rapist with YU’s Title IX Office.

        3.   In late February, 2021 or early March, 2021, YU hired Seyfarth

Shaw, LLP (“Seyfarth”), its long-time litigation counsel which—from 2013

to present—has defended YU, certain YU administrators, and YU’s Board

of Directors, from sex abuse facilitation and cover up claims brought by

dozens of former students at a YU-affiliated high school, to conduct an

“independent investigation” of Plaintiff’s rape allegations.

        4.   Seyfarth, through its attorneys, Dov Kesselman, Esq., and

Emily Miller, Esq. (“the Seyfarth attorneys”), completed its “independent

investigation” of Plaintiff’s rape allegations in April, 2021.




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      5.      While conducting its “independent investigation,” the Seyfarth

attorneys deliberately chose to not interview several key fact witnesses

identified by Plaintiff who would have provided highly relevant evidence as

to Plaintiff’s statements and state of mind immediately after her rape.

      6.     Plaintiff told the Seyfarth attorneys investigating her rape

allegations that she had been given a rape kit by a Nurse Examiner at

Columbia Presbyterian Hospital the day after her rape and—at their request,

provided the Seyfarth attorneys with her hospital discharge form for that

post-rape examination.

      7.     While conducting its “independent investigation,” the Seyfarth

attorneys deliberately chose to not obtain or request access to extremely

relevant evidence from Plaintiff’s rape kit (taken the day after her rape)

which included photographs of bruises on Plaintiff’s neck and inner thigh,

which corroborated Plaintiff’s claim that PERRY DOE had used force and

violence during his rape which inflicted visible injuries and marks on

Plaintiff’s body.

      8.     On May 26, 2021, YU, in a letter from Defendant Nissel, YU’s

Title IX Coordinator, notified Plaintiff that “[a]fter an extensive

investigation, it has been determined that evidence does not support a




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finding that [PERRY DOE] violated [YU’s Non-Discrimination and Anti-

Harassment] Policy.” (See Ex. A hereto).

      9.     Thereafter, in June, 2021, Plaintiff repeatedly tried to appeal

YU’s “not-responsible” determination on the grounds that YU failed to

consider the extremely relevant evidence contained in her rape kit.

      10.    Even though Title IX expressly provides that the person or

panel handling an appeal of a Title IX dismissal may not be a university’s

Title IX Coordinator, YU—EXCLUSIVELY through its Title IX

Coordinator, Defendant Nissel—consistently rejected Plaintiff’s appeals and

ignored Plaintiff’s pleas for YU to review or consider the neglected and

ignored critical evidence that was contained in Plaintiff’s rape kit.

      11.    Upon information and belief, the YU Defendants, mindful that

Plaintiff was extremely concerned about maintaining her anonymity,

believed that Plaintiff would not take any additional action once YU

determined that PERRY DOE was “not responsible” for sexually assaulting

her and that her appeal of YU’s determination was meritless. The YU

Defendants were wrong.

      12.    On August 25, 2021, Plaintiff published an anonymous letter in

the Yeshiva University Commentator, “I Thought Rape Culture Didn’t Exist

at YU—Until I Was Raped.” This letter was extremely critical of the process


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used by YU to investigate her rape allegations, as well as YU’s “not

responsible” determination.

      13.     Plaintiff’s August 25, 2021 letter created much controversy at

YU, interfered with YU’s ongoing fundraising campaign, led many to call

into question the competence and reliability of YU’s Title IX Office, and

prompted many YU students to request that YU administrators take prompt

and meaningful remedial action.

      14.     At that time, Plaintiff and all other YU students were still under

the impression that YU had conducted its investigation under Title IX

parameters and had complied with all Title IX rules, regulations, and

procedures.

      15.     YU did nothing to dispel this impression and, in fact, fostered

the notion that it had handled Plaintiff’s complaint as a Title IX matter in

accordance with Title IX’s rules, regulations, and procedures during its

investigation of her rape allegations.

      16.     On January 11, 2022, in a letter to all YU students, YU Dean

Karen Bacon announced the findings of a YU committee to evaluate the

University’s sexual harassment and assault policies and procedures and told

YU students that YU “follows all federal Title IX and NYS guidelines and




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procedures pertaining to sexual harassment and assault[.]” (Emphasis

added).

      17.    In March, 2022, YU announced the hiring of Annie Todd, as

YU’s new Deputy Title IX Coordinator.

      18.    YU thus deliberately misled Plaintiff, all YU students, and the

YU community-at-large into believing that YU had handled Plaintiff’s Title

IX Complaint based on her rape by PERRY DOE as a “Title IX” matter in

accordance with Title IX rules, regulations, and procedures.

      19.    Unbeknownst to Plaintiff and the entire YU community, YU,

through its high-ranking administrators and officials, Andrew “Avi” Lauer,

Esq., General Counsel, and Chaim Nissel, Title IX Coordinator, handled and

treated Plaintiff’s rape allegations not as a Title IX matter, but as a mere

non-Title IX disciplinary matter.

      20.    In violation of Title IX, YU, Lauer, and Nissel, failed to notify

Plaintiff, in writing or otherwise, that it was dismissing her formal Title IX

Complaint.

      21.    Title IX itself expressly mandated that YU treat Plaintiff’s

formal rape complaint as a Title IX matter and provide her with all of Title

IX’s rules, regulations, and procedural protections and requirements, rather

than as a mere “disciplinary matter” which, pursuant to YU’s Non-


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Discrimination and Anti-Harassment Policy (the “Policy”) (Ex. B hereto,

updated in December, 2020), vested extraordinary discretionary power in

YU’s General Counsel and Title IX Coordinator.

      22.    Upon information and belief, Defendants Lauer, Nissel, and

Seyfarth all had a prominent role in drafting this Policy and executing the

Policy in connection with their handling of Plaintiff’s Title IX rape

complaint.

      23.    The Policy, moreover, provides YU’s General Counsel and

Title IX Coordinator, with broad, practically unfettered discretion in

determining the parameters of YU’s investigation of any non-Title IX

“disciplinary matter” related to sexual misconduct.

      24.    The Policy provides, for example, that YU’s General Counsel

and Title IX Coordinator, can provide a complainant and accused person

with a live hearing that resembles the mandated Title IX live hearing for all

Title IX rape allegations.

      25.    In such a live hearing (for a non-Title IX disciplinary matter),

YU’s Policy provides that “a hearing officer should convene a hearing and

make the finding as to whether [the] Policy has been violated and determine

appropriate sanctions.”




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      26.    In this setting (for a non-Title IX disciplinary matter),

moreover, “the hearing officer may question the parties in order to assist

him/her in deciding whether or not the charges are supported by a

preponderance of the evidence.”

      27.    Even though Plaintiff made a credible rape allegation against

PERRY DOE—the most serious charge on the spectrum of all sexual

misconduct allegations—Defendants Lauer and Nissel decided not to

conduct such a live hearing and not have anyone conduct an examination of

Plaintiff or PERRY DOE to ascertain the credibility of each party with

respect to Plaintiff’s rape allegations. YU’s decision to not conduct a live

hearing further diluted a process that was already in clear violation of the

Title IX mandates for a university to review a rape charge.

      28.    Upon information and belief, the YU Defendants’ complete

failure to review, examine, or even question important details about the

credibly alleged rape, which includes: (1) the Seyfarth’s attorneys’ failure to

interview key fact witnesses identified by Plaintiff; (2) the Seyfarth

attorneys’ failure to obtain or request from Plaintiff access to the extremely

critical rape kit evidence (which included photographs depicting bruises on

Plaintiff’s neck and inner thigh); and Lauer and Nissel’s decision to deny the

parties the right to a live hearing (even in the context of an already watered


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down and substandard process) in which a hearing officer could assess the

parties’ credibility, demonstrates that the YU Defendants were not at all

interested in a full, fair, and impartial adjudication of Plaintiff’s rape

complaint.

      29.    To the contrary, the YU Defendants took every possible action

to deny Plaintiff a full, fair, and impartial adjudication of her rape complaint

because each Defendant had conspired to ignore, bury, and cover up

Plaintiff’s rape allegations against the YU basketball player behind YU’s

false, fraudulent, and preordained finding that PERRY DOE was “not

responsible” for any sexual misconduct towards Plaintiff.

      30.    Upon information and belief, YU’s ultimate “not responsible”

determination was a sham—a carefully coordinated and orchestrated

conclusion that was made by the YU Defendants before their stealth and

patently deficient “investigation” ever began.

      31.    The YU Defendants’ decision to handle Plaintiff’s matter

outside the context of Title IX, when Title IX itself mandated that its rules,

regulations, and procedures should have governed any investigation into

Plaintiff’s rape complaint, both violated Title IX and created the false

impression that YU had taken prophylactic and remedial steps to better

address the sexual assaults of YU students.


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      32.    YU never took any real remedial steps and its sexual assault

Policy has not changed materially since Plaintiff made her Title IX rape

complaint.

      33.    In fact, because YU and its General Counsel, Andrew “Avi”

Lauer, Esq., and Title IX Coordinator, Chaim Nissel, purposely

misconstrued Title IX and YU’s Policy to provide themselves with broad,

unchecked power to act as investigator, judge, and jury to address and

resolve rape and sexual assault allegations of YU students that occurred

“off-campus,” the YU Defendants knowingly ignored Title IX’s mandated

rules, regulations, and procedures.      By reason of this fraud and deceit,

Defendants were able to orchestrate their intended outcome.

      34.    The new Title IX regulations that took effect on August 14,

2020 demonstrate that the YU Defendants’ interpretation of the scope and

impact of Title IX is contrary to law.

      35.    Defendants include a major university and sophisticated, highly

experienced and well-compensated attorneys who are well-versed and

knowledgeable about Title IX’s rules and regulations.        Upon information

and belief, therefore, Defendants’ refusal to follow the precepts of the law in

this area was intentional, willful, malicious, and calculated.




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        36.   The cosmetic changes to YU’s Title IX Office which YU

implemented in 2022 are meaningless window-dressing unless and until the

YU Defendants actually follow Title IX rules, regulations, and procedures

related to Title IX sexual assault complaints made by YU students.

        37.   The YU Defendants maliciously and purposefully failed to do

that in response to Plaintiff’s rape complaint.

        38.   YU’s still-intact Policy on sexual assault allegations, moreover,

which grants Defendants Lauer and Nissel extraordinary and largely

unrestrained power, provides these YU Defendants with the same

opportunity to cover up additional rapes and sexual assaults.

                      JURISDICTION AND VENUE

        39.   This Court has exclusive jurisdiction over this matter pursuant

to 28 U.S.C. § 1331, in that this matter involves a federal question: did

Yeshiva University violate Title IX of the Educational Amendments of

1972.

        40.   This Court has supplemental jurisdiction over Plaintiff’s claims

under New York State law, pursuant to 28 U.S.C § 1367, in that said state

claims are inextricably intertwined with the federal claims in this action.

Indeed, the state law claims are so related to the federal claims in this action

that they form part of the same case or controversy under Article III of the


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United States Constitution. In the alternative, this Court has subject matter

jurisdiction of this action, pursuant to 28 U.S.C. § 1332, as complete

diversity exists; as, upon information and belief, Plaintiff is a citizen of and

resides in a state in the United States of America other than New York;

Defendant YU is a citizen of and maintains its principal offices in the State

of New York; Defendant Lauer is a citizen of and resides in the State of New

York; Defendant Kesselman is a citizen of and resides in the State of New

York; and Defendant Miller is a citizen of and resides in the State of New

York; and the matter in controversy exceeds the sum of $75,000.00.

      41.    Venue is proper in this District because, pursuant to 18 U.S.C. §

1965(c) and 28 U.S.C. § 1391(b), the incidents at issue occurred and arose

within this District, and most of the Defendants reside in, conduct business

in, and/or are residents and citizens of this District.

                                   PARTIES

      42.    Plaintiff, JANE DOE (A Pseudonym), is an adult individual

residing in a state other than New York.            She has attended Yeshiva

University—as a full-time student in its education programs and activities

from 2018 to present.

      43.    Plaintiff, JANE DOE, is proceeding in this case under a

pseudonym in order to protect her anonymity. As a victim of sexual assault,


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Plaintiff is entitled to maintain her privacy and to prevent any stigma and/or

other negative ramifications that would occur if her identity were publicly

disclosed.

      44.    Plaintiff has not identified her alleged rapist in this Complaint,

and such person shall be referred to herein as “PERRY DOE.”

      45.    Plaintiff’s counsel has confidentially identified Plaintiff to

counsel for Yeshiva University and, upon information and belief, each

Defendant knows Plaintiff’s true identity. With the consent of the

Defendants, the parties will submit a proposed Protective/Confidentiality

Order to the Court that will preserve the anonymity of Plaintiff throughout

this litigation. Such consent has routinely been received and such orders

have routinely been granted in numerous actions—like this one—where a

person alleges that she is a victim of rape and/or sexual assault.

      46.    From September, 2020 through May, 2022, Plaintiff resided in

an apartment in close proximity to YU’s Wilf Campus. In large part due to

the COVID-19 pandemic, she took most of her classes online rather than in

person. Plaintiff regularly used YU’s library in the Wilf Campus both to

study and to sit for her online classes.




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        47.   In May, 2022, Plaintiff moved out of her Washington Heights

apartment and moved into another residence in a different part of New York

City.

        48.   At all material times, from January, 2021 to present, Plaintiff

was and continues to be a student-athlete, a full-time student at YU, and

member of a YU varsity athletic team.

        49.   Defendant, Yeshiva University (“YU”), is, and at all material

times has been, a private undergraduate and graduate university located in

New York, New York, which maintains its principal offices at 500 W. 185th

Street, New York, New York 10033.

        50.   Defendant, Andrew “Avi” Lauer, Esq. (“Lauer”), is, and at all

material times has been, the General Counsel of YU, who resides, upon

information and belief, in the State of New York.

        51.   Defendant, Chaim Nissel (“Nissel”), is, and at all material times

has been, YU’s Title IX Coordinator and Vice Provost of Student Affairs of

YU, who resides, upon information and belief, in the State of New York.

        52.   Defendant, Seyfarth Shaw, LLP (“Seyfarth), is, and at all

material times has been, a law firm that conducts business in the State of

New York and maintains offices located at 620 Eighth Avenue, New York,

New York 10018.


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      53.    Defendant, Dov Kesselman (“Kesselman”), is, and at all

material times has been, a partner at Seyfarth, in its New York City office,

and, upon information and belief, resides in the State of New York.

      54.    Defendant, Emily Miller, Esq. (“Miller”), is, and at all material

times has been, an associate at Seyfarth, in its New York City office, and,

upon information and belief, resides in the State of New York.

      55.    At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller, acted within the course and scope of their

employment as agents, servants, and/or employees of Defendant YU.

Likewise, at all material times, Defendants Kesselman and Miller acted

within the course and scope of their employment as agents, servants, and/or

employees of Defendant Seyfarth Shaw, LLP.

                             BACKGROUND

      56.    Founded in 1886, Yeshiva University (“YU”) is a private

university under Jewish auspices, which is located in New York, New York.

      57.    YU’s Mission Statement stresses its “unique dual curriculum

that teaches knowledge enlightened by values that helps our students gain

the wisdom to make their lives both a secular and spiritual success.”

      58.    Title IX, 20 U.S.C. § 1681 (a) (1972), provides that a person

may not be subjected to discrimination, including discrimination on the basis

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of gender (which includes gender-targeted sexual assaults), under any

education program or activity receiving federal funds.

       59.      This action is brought by a female YU student-athlete who, on

January 24, 2021, was raped by a YU male student-athlete (“PERRY DOE”)

in his apartment located at or near the outer perimeter of YU’s Wilf Campus.

       60.      On or about February 18, 2021, Plaintiff made a formal Title IX

Complaint with respect to her sexual assault to Sarah Asher, Assistant Dean

of Student Affairs, and Chaim Nissel, YU’s Title IX Coordinator and Vice

Provost of Student Affairs.

        YU’S UNPRECEDENTED FUNDRAISING CAMPAIGN

       61.      On December 5, 2021, Yeshiva University announced publicly

it’s   launch     of   “Rise    Up:   Campaign      for   Yeshiva    University”

(https:/riseup.yu/edu), an extraordinarily ambitious and comprehensive

fundraising campaign in which Yeshiva University plans to raise Six

Hundred and Thirty-One Million Dollars ($631,000,000) over the next five

(5) years (i.e., by December 2026) to make substantial investments in

various Yeshiva University educational programs, including four areas of

strategic    focus:    values   and   leadership,   science,   and   technology,

entrepreneurship and innovation, and jobs and careers.




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      62.    According to YU itself, the “quiet phase” of its fundraising

campaign began in 2019 and has already been quite successful. Fundraising

for the University, indeed, increased from about thirty million ($30,000,000)

in calendar year 2018 to about ninety-two million ($92,000,000) in calendar

year 2021.

      63.    In early 2021, therefore, when Plaintiff made her formal Title

IX rape complaint to Yeshiva University’s Title IX Office, YU had already

embarked on—but had not yet publicly announced—the most aggressive and

ambitious fundraising campaign in Yeshiva University’s history.

      64.    Yeshiva University’s Six Hundred and Thirty-One Million

Dollar ($631,000,000) fundraising target was specifically selected to model

the precise number of commandments contained in the Torah—the first five

Books of Moses of the Old Testament.

      65.    In December 2021, Dr. Ari Berman, Yeshiva University’s

President stated: “The Torah teaches 631 ways to honor G_d, show respect

for others and build an ethical and flourishing society. Raising Six Hundred

and Thirty-One Million Dollar ($631,000,000) for scholarships, faculty, and

facilities reflects our core Torah values and meets our need for the future.

Committed to academic excellence and geared to empower our students be




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the leaders of tomorrow, the flagship Jewish university is on the rise[.] Now

is the time to rise up and become a partner in the future.”

          66.   Upon information and belief, in or about March, 2021, Yeshiva

University, its President, its Board of Directors, and its employees and

agents, Andrew “Avi” Lauer, Esq. (YU’s General Counsel), and Chaim

Nissel (YU’s Title IX Coordinator), all recognized that Plaintiff’s rape

allegations against a YU basketball player—if substantiated and

publicized—would cause the University to suffer significant negative

publicity that would hinder Yeshiva University’s “values-based” fundraising

effort.

          67.   This was especially true because Yeshiva University’s varsity

basketball team was enjoying unprecedented success (riding a record 50-

game winning streak) that was gaining Yeshiva University extraordinarily

positive local, national, and international media coverage.

          68.   This positive media coverage was, upon information and belief,

burnishing Yeshiva University’s reputation and helping the “quiet phase” of

YU’s fundraising campaign (from 2019 through 2021) enormously. YU

administrators even referenced the YU Basketball Team’s extraordinary

success in their public roll-out of YU’s “Rise Up” fundraising campaign.




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      69.    Upon information and belief, in or about late February, 2021 or

early March, 2021, Yeshiva University and its agents and employees, Lauer,

Nissel, Seyfarth, Kesselman, and Miller, recognized and understood that

Plaintiff had not told her parents about her sexual assault by a YU basketball

player, had not hired an attorney, and had not even hired or retained an

“advisor” to help her navigate her way through Yeshiva University’s

“investigation” of her formal Title IX Complaint involving her rape by a YU

basketball player.

      70.    Upon information and belief, in or about late February, 2021 or

early March, 2021, soon after Plaintiff made her formal Title IX Complaint

to YU’s Title IX Office, Yeshiva University, and its agents and employees,

Lauer and Nissel, jointly made a knowing, conscious, and calculated

decision: (1) to conduct a sham “investigation” of Plaintiff’s allegations; (2)

to arrive at a preordained “not responsible” verdict with respect to the

conduct of Plaintiff’s alleged rapist (“PERRY DOE”); (3) to hire as its

“investigators” of Plaintiff’s allegations, a law firm, Seyfarth Shaw, LLP

(“Seyfarth”), and two attorneys from Seyfarth, Kesselman, and Miller,

which—as YU’s long-time litigation counsel in myriad sex abuse litigations

in New York State—had glaring and obvious conflicts of interests and biases

in favor of Yeshiva University and PERRY DOE and against Plaintiff, and


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was willing to go along with YU’s planned sham investigation and pre-

determined outcome; (4) to deliberately breach and fail to comply with

numerous specific Title IX rules, regulations, and procedures; (5) to

deliberately breach and fail to comply with numerous specific promises and

agreements set forth in Yeshiva University’s Non-Discrimination and Anti-

Harassment Policy and Complaint Procedures (the “Policy” or “YU’s

Policy”); (6) to ignore substantial evidence that supported Plaintiff’s claims;

(7) to deliberately fail to interview fact witnesses (including several

specifically identified by Plaintiff) who could corroborate Plaintiff’s claims

by testifying as to her statements and state of mind soon after the incident

occurred; and (8) to deliberately choose not to obtain or request access to

Plaintiff’s rape kit evidence collected by Columbia Presbyterian Hospital the

day after Plaintiff’s alleged rape, which would have corroborated Plaintiff’s

allegations that her rapist used force and violence to inflict visible physical

injuries on her body during his rape.

      71.    Plaintiff does not make these serious allegations lightly.

However, the gulf between what YU and its agents and employees, Lauer,

Kesselman, and Miller (three experienced attorneys with broad experience

handling sex abuse allegations) and Nissel (an experienced Title IX

administrator), were required by law to do—and what they in fact did—is so


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enormous as to beget but one reasonable conclusion: Yeshiva University and

the other Defendants, Andrew “Avi” Lauer, Esq., Chaim Nissel, Seyfarth

Shaw, LLP, Dov Kesselman, Esq., and Emily Miller, Esq., conspired to

conceal and cover-up the YU basketball player’s rape of Plaintiff.

      72.     By exonerating PERRY DOE, not imposing any disciplinary

action against him, and permitting him to have unrestricted access to and

unregulated use of YU’s Wilf Campus and all YU facilities, the YU

Defendants placed not just Plaintiff, but all female students at YU, in an

extraordinarily vulnerable position.

      73.     Tragically, this kind of conduct is nothing new for Yeshiva

University.

      74.     YU, for at least several decades, has created, fostered, and

nourished a rape cover-up culture by falsely representing that rapes and

sexual assaults do not occur on or near YU’s campuses and are not

committed by YU students.

      YU’S 20-YEAR NON-COMPLIANCE WITH THE CLERY ACT

      75.     The Jeanne Clery Disclosure of Campus Security Policy and

Campus Crime Statistics (“Clery Act”), enacted in 1990, is a federal statute

codified at 20 U.S.C. § 1092(f), with implementing regulations in the U.S.

Code of Federal Regulations at 34 CFR 668.46.


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      76.    The law is named after Jeanne Clery, a 19-year-old Lehigh

University student who was raped and murdered by a fellow student in her

campus residence hall in 1986.

      77.    After her rape and murder, Jeanne Clery’s parents ascertained

for the first time that the attack on their daughter was one of 38 violent

crimes recorded at the university from 1984 through 1986. Her parents

argued that, had Lehigh University’s crime record been known, Jeanne Clery

would not have attended the school.

      78.    Jeanne Clery’s parents founded Security on Campus, a non-

profit organization that lobbied for the passage of The Clery Act, which was

signed into law in 1990.

      79.    The Clery Act requires all colleges and universities that

participate in federal financial aid programs to keep and disclose information

about crimes on and/or near their respective campuses.

      80.    Compliance is monitored by the U.S. Department of Education,

which can impose civil penalties of up to $59,017.00 per violation, against

institutions for each infraction and can suspend non-compliant institutions

from participating in federal student financial aid programs.




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      81.    The Clery Act provides that by October 1 of each year, a

college or university must publish and distribute its Annual Campus Security

Report to current and prospective students and employees.

      82.    This report is required to provide crime statistics for the past

three years, for crimes that occurred on campus, in institution residential

facilities, in non-campus buildings, or on public property near campus.

      83.    A college or university is required to report on the following

specific crimes:

             (1)   Murder;

             (2)   Forcible sex offenses (rape and fondling);

             (3)   Non-forcible sex offenses (incest and statutory rape);

             (4)   Domestic violence;

             (5)   Dating violence;

             (6)   Stalking;

             (7)   Robbery;

             (8)   Aggravated assault;

             (9)   Burglary;

             (10) Motor vehicle theft; and

             (11) Arson.




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      84.    Beginning in 2001, the U.S. Department of Education publishes

on its website the crime statistics as reported by each college or university in

the United States that receives federal financial aid.

      85.    In or before 2001, upon information and belief, Yeshiva

University administrators made a knowing and calculated decision to not

report to the U.S. Department of Education any and all sex crimes, including

rape or nonconsensual fondling, that occurred on or near the campuses of

YU’s undergraduate college for men (Wilf Campus) and its undergraduate

college for women and schools for post-graduate studies (Beren Campus).

      86.    The effect of YU’s willful and calculated decision to not

comply with The Clery Act’s crime reporting requirements and to submit to

the Department of Education knowingly false and fraudulent crime data, was

to create the false and fraudulent impression for both prospective students

and their parents and matriculating students, that rapes and sexual assaults

did not occur at or near YU and, inter alia, that students who attended YU

had not raped or sexually assaulted other YU students since at least 2001.

      87.    As evidenced by the U.S. Department of Education website,

YU reported to the U.S. Department of Education the following number of

forcible sex crimes that occurred on or near YU’s Wilf Campus and/or

Beren Campus, in YU’s residential facilities, or in non-campus buildings:


                                                                     24 | P a g e
     YU’S Reports to U.S. Dept. of Educ. of Forcible Sex Crimes:
    From 2001 to 2020 (for both Wilf Campus and Beren Campus)
_____________________________________________________________

Rapes:

2001:         0               2011:    0
2002:         0               2012:    0
2003:         0               2013:    0
2004:         0               2014:    0
2005:         0               2015:    0
2006:         0               2016:    0
2007:         0               2017:    0
2008:         0               2018:    0
2009:         0               2019:    0
2010:         0               2020:    0

Fondling:

2001:         0               2011:    0
2002:         0               2012:    0
2003:         0               2013:    0
2004:         0               2014:    0
2005:         0               2015:    0
2006:         0               2016:    0
2007:         0               2017:    0
2008:         0               2018:    0
2009:         0               2019:    0
2010:         0               2020:    0

Total Reported Rape Incidents from 2001 through 2020:     0
Total Reported Fondling Incidents from 2001 through 2020: 0

        88.       Numerous institutions (including Eastern Michigan University,

Michigan State University, Penn State University, University of Montana,

and University of California at Berkeley) have been found in non-



                                                                     25 | P a g e
compliance of The Clery Act and fined by the U.S. Department of Education

for inaccurate and misleading crime statistics.

        89.   Each of those institutions, nonetheless, reported numerous

forcible sex crimes on or near their campuses from 2001 to 2020.

        90.   Upon information and belief, Yeshiva University is one of the

few universities in the United States of America (if not the only such

university) that reported to the U.S. Department of Education ZERO

forcible rapes or sexual assaults on or near its major campuses from 2001 to

2020.

        91.   Upon information and belief, for two decades, YU has spun a

malicious, phony, and reckless fairytale about the safety of its campuses and

the alleged non-existence of rape and sexual assault at YU. This purposeful

error of commission is far more egregious than a mere error of omission.

        92.   Upon information and belief, YU’s reports of sex crimes at or

near its campuses for both men and women were and continue to be false,

fraudulent, malicious, and intended to paint a misleading impression of

almost complete safety at YU, particularly for female students (who,

according to numerous reputable studies, suffer rapes and sexual assaults at

rates exponentially higher than their male student counterparts).




                                                                    26 | P a g e
      93.    Rape, Abuse & Incest National Network (“RAINN”) is the

nation’s largest anti-sexual violence organization.            RAINN created and

operates    the   National    Sexual       Assault        Hotline   (800.646.HOPE,

online.rainn.org and rain.org/es) in partnership with more than 1,000 local

sexual assault service providers across the country and operates the DoD

Safe Helpline for the U.S. Department of Defense. RAINN also carries out

programs to prevent sexual violence, help survivors, and ensure that

perpetrators are brought to justice.

      94.    According to RAINN’s analysis of sexual violence statistics:

among undergraduate students in the United States, 26.4% of females and

6.8% of males experience rape or sexual assault through physical force,

violence, or incapacitation, and among graduate and professional students,

9.7% of females and 2.5% of males experience rape or sexual assault

through     physical     force,        violence,     or      incapacitation.     (See

https://www.rainn.org/statistics/campus-sexual-violence).

      95.    YU’s own website provides that all crimes which occur within

YU’s “security jurisdiction” occur “on campus, [which] include[es] non-

campus buildings or properties, on public property or within the Security

Department’s jurisdiction …” YU itself thus uses an extremely broad

definition for its “Campuses.”         Plaintiff pleads, in the alternative, that


                                                                          27 | P a g e
PERRY DOE’s rape of Plaintiff occurred on or within YU’s Wilf Campus

and, for that reason alone, occurred within YU’s education programs and

activities.

       96.    Upon information and belief, from 2001 through 2021, YU

received numerous complaints, and was otherwise made aware, of numerous

alleged criminal rapes and/or sexual assaults of YU students on or near YU’s

Wilf Campus and/or Beren Campus.

       97.    In or about 2018, a YU female student reported to YU’s Title

IX Office, specifically Defendant Nissel, that she had been raped on or near

YU’s Wilf Campus by a male YU student. Upon information and belief, YU

and Defendant Nissel dismissed out-of-hand this rape complainant’s

allegations and took no disciplinary action against the accused YU male

student.

       98.    Upon information and belief, from 2001 to present, numerous

other YU students have reported rapes and/or sexual assaults by other YU

students on or near YU’s Wilf Campus and/or Beren Campus.

       99.    In campus climate surveys conducted for and by YU students,

in 2017, 2019, and 2021 (as mandated by New York’s “Enough is Enough”

Law), numerous YU students self-reported that they had been victimized by

forcible sexual contact on or near YU’s campuses.      Several of these YU


                                                                  28 | P a g e
students stated that they had reported these acts of sexual misconduct to

YU’s Title IX Office.

      100. YU knowingly, maliciously and fraudulently failed     to    report

any of these sexual assault allegations—including the specific one made to

its Title IX Office and Defendant Nissel in or about 2018—to the U.S.

Department of Education, as mandated by The Clery Act.

      101. YU, likewise, knowingly, maliciously, and fraudulently failed

to report any of these sexual assault allegations—including the specific one

made to its Title IX Office and Defendant Nissel in or about 2018—to YU

students (including Plaintiff) and prospective students in their Security

Reports (which are published annually on October 1) for calendar years

2017, 2018, 2019, and 2020.

      102. Since 2001 and continuing to present, YU has been in gross

non-compliance with and in violation of The Clery Act.

      103. Upon information and belief, this gross non-compliance is not

the result of mere negligence, carelessness, or sloppy record-keeping. It

reflects, rather, a knowing, conscious, and calculated choice made by YU

administrators and/or YU’s Board of Directors.

      104. YU’s conscious and calculated choice to deceive and mislead

the U.S. Department of Education, YU’s female students, and all prospective


                                                                  29 | P a g e
female students, about sex crimes that have occurred on or near YU’s

campuses, has endangered the health, safety, and welfare of every female

student who has attended YU for the last 20 years.

      105. It has made every female student who has attended YU, from

2001 through present, including Plaintiff, more vulnerable to rape and sexual

assault on or near YU’s campuses.

                 PLAINTIFF’S RAPE ALLEGATIONS

      106. Plaintiff, at all material times, resided, and still resides in a state

in the United States other than New York.

      107. In 2018 through 2021, Plaintiff was enrolled in Yeshiva

University as a full-time student in a university education program.

      108. At all material times, Plaintiff was a full-time student at YU,

and a participant in its education programs and activities, a student-athlete,

and a member of a Yeshiva University varsity athletic team.

      109. In 2020 through May 2022, Plaintiff resided in an apartment in

Washington Heights, located within the scope of Yeshiva University’s

Security office’s geographical coverage area (and thus within or near the

outer perimeter of YU’s Wilf Campus).




                                                                       30 | P a g e
      110. Because of the COVID-19 pandemic, in 2020 and 2021,

Plaintiff’s Stern College classes were primarily conducted remotely, i.e.,

online via computer only.

      111. In 2020 and 2021, Plaintiff regularly used facilities at Yeshiva

University’s Wilf Campus, including the library (where she electronically

attended online classes), and gymnasium (which she regularly used as a

Yeshiva University student-athlete).

      112. In 2020 and 2021, Plaintiff was also required to regularly use

Yeshiva University’s Furst Hall in order to take COVID-19 tests (as required

by Yeshiva University). After PERRY DOE raped Plaintiff on January 24,

2021, she was terrified that she would encounter PERRY DOE at Furst Hall;

Plaintiff was thus compelled to have a number of friends monitor PERRY

DOE’s presence or absence at Furst Hall, and then notify Plaintiff by

telephone when the coast was clear or when PERRY DOE was present at

Furst Hall. This monitoring of PERRY DOE occurred frequently but was

imperfect and imprecise, and it detracted substantially from Plaintiff’s

educational experience at YU.

      113. On January 24, 2021, Plaintiff was on a first date and visiting a

Yeshiva University undergraduate student (i.e. “PERRY DOE”) at his

apartment in Washington Heights, New York.


                                                                  31 | P a g e
      114. PERRY DOE’S apartment, upon information and belief, was

located within the geographic limits of YU’s security perimeter, in which

Yeshiva University-hired security guards regularly and routinely patrolled

the area (and thus was within or quite near YU’s Wilf Campus).

      115. PERRY DOE’S apartment, upon information and belief, was

within the geographic area to which Yeshiva University’s security officers

regularly provided Yeshiva University students with shuttle service to and

from various areas within Yeshiva University’s Wilf Campus and other

areas within the community in Washington Heights. As such, it was within

or near the outer perimeter of YU’s Wilf Campus.

      116. At all material times, PERRY DOE was a member of the

Yeshiva University Varsity Basketball Team and in such capacity as a YU

student-athlete, subject to additional Yeshiva University policies and rules

which provided Yeshiva University with control and authority over him and

his activities to a much greater extent than Yeshiva University normally

exercised over its students.

      117. At all material times, as Plaintiff was a student-athlete at YU,

she was entitled to certain protections and rights from YU that were not

normally afforded to non-student-athletes at YU.




                                                                  32 | P a g e
      118. At all material times, PERRY DOE was an F-1 Visa foreign

student who attended Yeshiva University pursuant to an F-1 Student Visa.

      119. PERRY DOE’s status as a foreign student was conditioned

upon, inter alia, his continued enrollment as a full-time student in an

academic education program at Yeshiva University, approval of his Visa by

the Student and Exchange Visitors Program, Immigration and Custom

Enforcement, his proficiency in English, and his ability to maintain

sufficient funds for his self-support.

      120. At all material times, PERRY DOE’S status as an F-1 Visa

foreign student made him subject to additional Yeshiva University policies

and rules which provided Yeshiva University with control and authority over

him and his activities to a much greater extent than Yeshiva University

normally exercised over its students who were U.S. citizens and residents.

      121. Upon information and belief, in 2021, Yeshiva University paid

all or some of PERRY DOE’s rent for his Washington Heights apartment.

Upon information and belief, without YU’s financial assistance, PERRY

DOE could not have afforded to reside in his apartment and would thus not

have been able to attend YU. Moreover, upon information and belief, YU

expressly provided PERRY DOE with permission and authorization to

reside in his Washington Heights apartment. PERRY DOE would not have


                                                                   33 | P a g e
been able to rent his Washington Heights apartment without YU’s expressed

permission, approval, and direct involvement and facilitation.            Upon

information and belief, the landlord of PERRY DOE’s Washington Heights

apartment has a policy and practice of not renting apartments to persons

under 21-years-old, unless they are students at Yeshiva University. Upon

information and belief, the landlord of PERRY DOE’s Washington Heights

apartment also has a policy and practice of not renting apartments to non-

citizens of the United States, unless they are students at Yeshiva University.

Upon information and belief, PERRY DOE would not have been permitted

to rent his apartment in Washington Heights, unless he was a student at

Yeshiva University and subject to the school’s discipline, control, and

authority at all times he was residing in or using that apartment.

       122. On January 24, 2021, while Plaintiff was on a first date with

PERRY DOE and was visiting him in his apartment, PERRY DOE raped

Plaintiff.

       123. Plaintiff had spoken with PERRY DOE on several social media

applications for two days prior to meeting him for their date.

       124. Plaintiff initially refused PERRY DOE’s invitation to go up to

his apartment in Washington Heights. She suggested, instead, that they go

to her apartment and hang out with her roommates in the living room.


                                                                     34 | P a g e
      125. PERRY DOE didn’t want to do that, however, and instead told

Plaintiff that they should go for a walk. During this walk, PERRY DOE

ducked into a store and purchased some beer and soda. He then asked

Plaintiff to help him to carry the beer and soda upstairs to his apartment.

      126. As PERRY DOE had just moved into his apartment, there was

no place for Plaintiff to sit other than on PERRY DOE’s bed.              When

Plaintiff sat on PERRY DOE’s bed, he moved close to her and began to

touch and kiss her.

      127. Plaintiff told PERRY DOE “no” multiple times and clearly

conveyed that she did not want to have any sexual contact of any kind with

PERRY DOE.

      128. PERRY DOE is a large and powerfully built man and he

refused to accept Plaintiff’s multiple “no’s.”     He subdued Plaintiff and

asserted his physical dominance over her by grabbing her leg, pinning it

down with his own, and grabbing her neck to hold her down.

      129. PERRY DOE used physical force to effectuate his rape of

Plaintiff, in that: (1) PERRY DOE placed his hands around Plaintiff’s neck

and squeezed, in order to gain physical control and dominion over Plaintiff’s

body; and (2) he forcefully pressed a knee against Plaintiff’s thigh in order

to pry open her legs.


                                                                     35 | P a g e
      130. PERRY DOE’s use of physical force and violence to effectuate

his rape of Plaintiff left discernible and visible marks and bruises on

Plaintiff’s body.

      131. Plaintiff’s neck was left with a discernible and visible bruise in

the area where PERRY DOE had grabbed her with his hands.

      132. Plaintiff was also left with a discernible and visible large bruise

on her inner thigh, which resembled a welt, from PERRY DOE’s violent and

aggressive pushing of Plaintiff’s legs open with his knee.

      133. After PERRY DOE raped Plaintiff, she was crying. PERRY

DOE asked Plaintiff if she was OK?

      134. PERRY DOE then implored Plaintiff to not tell anyone about

what had just happened because he respected her and has sisters and would

never disrespect anybody.

      135. After PERRY DOE raped Plaintiff, he asked her if she wanted

him to walk her home. Plaintiff declined that invitation. She walked home

alone and arrived back at her apartment at about 10:00 p.m.

      136. On the evening of January 24, 2021, after returning to her

apartment, Plaintiff was extremely upset, in pain, and agitated. She told

several of her roommates that she had just gone out on a date and had been

raped by the man she had visited.


                                                                   36 | P a g e
      137. On the evening of January 24, 2021, after returning to her

apartment, Plaintiff texted a close male friend and conveyed to him that she

had just been raped.

      138. When PERRY DOE was raping Plaintiff, she was in shock,

frozen, and in extreme pain. To the extent she could, she disassociated her

mind from her body.

      139. Prior to PERRY DOE’s rape of her, Plaintiff categorically and

unequivocally conveyed to PERRY DOE, several times, that she did not

consent to having sex with him.

      140. PERRY DOE heard Plaintiff’s statements in which she stated

“No,” and that she was unwilling to have sex with him. But PERRY DOE

pressed forward anyway. He told Plaintiff that she should just relax and

submit because, in words or substance: “this will be fun.”

      141. For the entire day of January 25, 2021, the day after her rape,

Plaintiff was in extreme pain. In the evening, one of her roommates

persuaded her to go to a hospital to get treated.

      142. On the evening of January 25, 2021, Plaintiff was admitted into

Columbia Presbyterian Hospital to get examined and treated for the rape that

had occurred the previous evening.




                                                                  37 | P a g e
      143. On January 25, 2021, the Nurse Examiner conducted a rape kit

examination of Plaintiff in which she collected evidence with respect to

Plaintiff’s rape allegations.

      144. The primary evidence collected by the Nurse Examiner were

detailed photographs taken by the Nurse Examiner of: (1) the bruise on

Plaintiff’s neck; and (2) the bruise/welt on Plaintiff’s inner thigh.

      145. These photographs were extremely relevant because they

corroborated Plaintiff’s account that PERRY DOE had used physical force

and violence against Plaintiff while he was raping her.

      146. On the evening of January 25, 2021, after her rape examination,

Columbia Presbyterian Hospital provided Plaintiff with a Hospital Discharge

Form, which provided that Plaintiff had been treated by and released from

the Hospital on January 25, 2021. Plaintiff kept this form for her records.

      147. Pursuant to Columbia Presbyterian Hospital policies and

procedures, Columbia Presbyterian Hospital retained and continues to retain

all evidence collected in and for Plaintiff’s rape kit, including the above-

referenced photographs of Plaintiff’s body.

      148. In or about late January, 2021, Plaintiff, who was trying to

recover emotionally and physically from the trauma of her rape, missed

several classes and failed to complete several assignments.


                                                                        38 | P a g e
      149. One of her professors responded angrily and notified Plaintiff

that her failure to complete her assignment in his class would negatively

impact her grade.

      150. In or about early February 2021, Plaintiff felt compelled to

speak with Sarah Asher, Yeshiva University’s Assistant Dean of Students.

      151. Plaintiff told Dean Asher that she had recently been raped by a

male Yeshiva University student in his apartment and conveyed the troubles

she was having in several of her classes because of that incident. Plaintiff

did not initially tell Dean Asher the name of the person who had raped her.

      152. Dean Asher told Plaintiff that Plaintiff would need to

communicate with each of her professors and explain the circumstances as to

why she had missed several classes and assignments.

      153. Although this was extremely difficult and emotionally charged,

Plaintiff had such communications with her professors and thus, despite

some continued resistance from one of her professors, settled her academic

affairs. (Upon information and belief, Dean Asher communicated with the

recalcitrant professor, and further explained Plaintiff’s situation to him).

      154. On or about February 10, 2021, Plaintiff communicated further

with Dean Asher and conveyed to her the real name of PERRY DOE.




                                                                      39 | P a g e
      155. Dean Asher advised Plaintiff that she should make a formal

Title IX sexual abuse complaint to Yeshiva University’s Title IX Office.

      156. On or about February 18, 2021, Plaintiff conveyed to Dr.

Asher, in writing, that she wanted to make a formal Title IX Report to the

school’s Title IX Office concerning her rape by PERRY DOE.

      157. Thereafter, in late February 2021, Plaintiff had several further

communications with Dr. Asher about her Title IX Complaint.

      158. Dr. Asher conveyed to Plaintiff that she would be

communicating with Defendant Chaim Nissel, Yeshiva University’s Title IX

Coordinator, about Plaintiff’s rape allegations.

      159. Defendant Nissel, despite the egregiousness of Plaintiff’s rape

allegations, had no in person or telephonic communications with Plaintiff

throughout the duration of Yeshiva University’s “investigation” of her Title

IX Complaint.

      160. Defendant Nissel did, however, have communications with

Andrew “Avi” Lauer, Esq., YU’s long-time General Counsel, and—upon

information and belief, in late February, 2021 or early March, 2021—these

two high-level YU employees developed and executed a nefarious and

malicious strategy to address, resolve, and whitewash Plaintiff’s Title IX

Complaint which stemmed from her alleged rape by PERRY DOE.


                                                                  40 | P a g e
      161. On March 4, 2021, Defendant Nissel sent Plaintiff an email in

which he stated that Yeshiva University intend[ed] to conduct an

investigation of Plaintiff’s allegations that PERRY DOE “engaged in Sexual

Assault” in violation of Yeshiva University’s “Non-Discrimination & Anti-

Harassment Policy” (the “Policy”).

      162. In this email, Defendant Nissel did not state or suggest that

Yeshiva University had dismissed Plaintiff’s Title IX Complaint for any

reason, including that said alleged sexual assault did not occur within any

Yeshiva University education program or activity or because said sexual

assault occurred in an off-campus apartment rather than on or within

Yeshiva University’s Wilf Campus.

      163. In his March 4, 2021 email to Plaintiff, Defendant Nissel

notified Plaintiff that “The University has retained an independent

investigator to conduct this investigation. The law firm of Seyfarth Shaw,

LLP, will be handling the investigation and Dov Kesselman and Emily

Miller have been named as investigators for this matter.” (Emphasis added).

      164. Title IX regulations expressly provide that any investigator

assigned to conduct a Title IX investigation of sexual harassment (including

sexual assault) must be free of any “conflict of interest” or “bias” for or

against any school, complainant, or respondent (i.e., the accused).


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      165. Here, the law firm of Seyfarth Shaw, LLP, and its attorneys,

Dov Kesselman, Esq., and Emily Miller, Esq., were not “independent

investigators” with an impartial viewpoint and no personal stake in the

outcome of Plaintiff’s Title IX Complaint.

      166. To the contrary, since in or about 2013, Seyfarth Shaw, LLP

(“Seyfarth”) has represented Yeshiva University in at least five separate

litigation matters brought in New York courts by more than 50 sexual abuse

survivors who allege that from the 1960s through 1990s, when they were

children, Yeshiva University covered up for several sexually abusive

administrators and teachers at Yeshiva University High School for Boys in

Manhattan.

      167. In one still active litigation brought by 47 plaintiffs, plaintiffs

allege that more than 15 students reported their sexual abuse to at least 20

YU officials (including YU’s former President, Norman Lamm) but that YU

administrators (including Lamm) had treated these complainants with

disdain by threatening reprisals and/or casting doubt on their credibility.

      168. Prior to his death in 2020, YU’s former President, Norman

Lamm, publicly acknowledged that he had mishandled sexual abuse

allegations by former YUHS students.




                                                                     42 | P a g e
      169. In 2013, shortly after these sex abuse allegations were first

publicized, YU conducted an internal investigation of sex abuse at YU and

YUHS, as well as YU administrators’ response to that abuse.

      170. In its August 16, 2013 Summary Report, YU’s investigators,

Sullivan & Cromwell, concluded that: (1) “As part of the Investigation, the

Investigative Team reviewed each individual report of sexual and physical

abuse, and the response of the University to any such report.               The

Investigative Team found that, up until 2001, there were multiple instances

in which the University either failed to appropriately act to protect the safety

of its students or did not respond to the allegations at all. Based on what the

Investigative Team learned from its interviews with victims, this lack of an

appropriate response by the University caused victims to believe that their

complaints fell on deaf ears or were simply not believed by the University’s

administrators.”; and (2) “The University’s response to allegations of

physical and sexual abuse that occurred at the University since 2001 [when,

coincidentally or not, the U.S. Department of Justice first began to publish

reported campus crime statistics for all universities and colleges], however,

significantly improved.”

      171. Since 2013, Seyfarth, led by its litigation partner, Karen Y.

Bitar, Esq. has defended YU (and continues to defend YU), certain YU


                                                                     43 | P a g e
administrators, and YU’s Board of Directors from the claims of more than

50 men who are suing YU for facilitating and covering up their sexual abuse

through, inter alia, negligent supervision and negligent retention.

      172. Seyfarth was successful in protecting YU’s legal and financial

interests in 2013 and 2014 by invoking and hiding behind the then-existing

draconian statutes of limitations. On this basis, Seyfarth was able to

persuade several federal courts in New York State to dismiss the YUHS

plaintiffs’ sex abuse cover-up claims solely on statute of limitations grounds.

      173. When New York passed The New York Child Victims Act

(“CVA”) in 2019, which created a short revival window for previous time-

barred claims, including claims that had been previously dismissed on

statute of limitations grounds, Seyfarth continued to represent YU, certain

YU administrators, and YU’s Board of Directors, in multiple sex abuse-

related claims brought by CVA plaintiffs.

      174. Seyfarth has used a strategy of delay and obfuscation and,

taking advantage of the lengthy delays in the New York courts caused by the

COVID-19 pandemic, YU has resisted at every turn plaintiffs’ efforts to

conduct discovery. To date, despite numerous demands, YU has refused to

produce a single administrator or official for a deposition (even though many




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of these persons are now in their mid-to-late 80s) and has refused to turn

over a single paper document to plaintiffs’ counsel.

       175. Seyfarth has further embarked on its campaign of delay and

obfuscation by filing motions to dismiss the CVA plaintiffs’ claims on, inter

alia, constitutional grounds, even though more than a dozen New York state

and federal courts have summarily rejected similar (if not nearly identical)

constitutional challenges to the CVA. The effect of these motions to dismiss

is to delay discovery, as New York law provides, generally, that discovery

cannot begin until after a motion to dismiss is decided by the court.

       176. One such YU motion to dismiss against 47 CVA plaintiffs was

fully briefed in January, 2021. The parties are still waiting for a decision;

until then, the case is stalled.

       177. While Seyfarth’s tactics of delay and obfuscation have caused

the CVA plaintiffs to suffer much emotional distress and mental anguish

above and beyond that caused by their sexual assaults as children, Seyfarth’s

litigation tactics—designed to avoid or at least delay a finding of YU’s

culpability for facilitating sexual abuse—have been extraordinarily

successful and profitable for Seyfarth and its attorneys.

       178. Upon information and belief, since 2013, Seyfarth has received

more than $2 million in legal fees from for its defense of dozens of sex


                                                                    45 | P a g e
abuse facilitation and/or cover-up claims against YU, certain YU

administrators, and members of the YU Board of Directors, by former

students of YU or its affiliated schools.

      179. Seyfarth’s charge, from 2013, and continuing to present, from

YU was (and remains) to defend YU from sex abuse facilitation and cover-

up claims, burnish YU’s reputation, and minimize the negative publicity and

reputational damage that could be incurred by the widespread public

disclosure of the craven and calculated actions of high-ranking YU

administrators and/or directors who refused to punish, fire, or report to law

enforcement officials certain YUHS teachers or administrators, despite

having actual knowledge that these YU employees were sexual predators

who had sexually abused dozens of students (children).

      180. Seyfarth, when selected to be the “investigator” of Plaintiff’s

Title IX rape claim, was far from an “independent” and “impartial”

investigator.

      181. To the contrary, Seyfarth had, and continues to have, a

substantial financial stake in YU continuing to maintain a sterling reputation

free of taint that would result from a legal finding that YU facilitated or

covered up the sexual abuse of its students, and/or failed to adequately

respond to reports or allegations of the sexual abuse of any of its students


                                                                   46 | P a g e
that was committed by a fellow YU student, teacher, administrator, or

anyone else affiliated with YU, and/or maliciously and knowingly

participated in a cover-up of any sexual abuse committed against any

students (including Plaintiff) at YU or any of its affiliated schools.

      182. Defendant Kesselman, as a partner at Seyfarth, has received and

continues to receive substantial remuneration from YU as a direct result of

his law firm’s near-decade-long defense of YU against dozens of sex-abuse

facilitation and/or cover-up claims.

      183. Defendant Kesselman, moreover, along with Karen Y. Bitar,

Esq., YU’s lead attorney for YU in the CVA cases, is and at all material

times has been an active member of Yeshiva University’s General Counsel’s

Council.

      184. According to YU’s own website, “[i]n April 2008, the General

Counsel formed the Yeshiva University General Counsel’s Council, which

comprises (sic) attorneys from outside law firms and corporate legal

departments who believe in the mission of the University and would like to

assist through the provisions of pro bono services.” (Emphasis added).

      185. As Defendant Kesselman is a named member of a group

committed to “the mission” of Yeshiva University, he, Seyfarth, and its

associate, Defendant Miller, have another clear conflict of interest and bias


                                                                         47 | P a g e
in favor of Yeshiva University and PERRY DOE and against anyone, like

Plaintiff, who makes sexual abuse allegations that could tarnish the school’s

reputation or damage its financial bottom-line.

      186. Defendants Seyfarth, Kesselman, and Miller’s conflicts of

interest and biases are particularly pronounced in view of YU’s ongoing

“Rise Up” fundraising campaign, as the continued success of YU and its

“mission” to raise more than half a billion dollars for the school by the end

of 2026 is now the publicly stated goal of both YU and Kesselman

      187. At no time during its “investigation” did Yeshiva University,

Seyfarth, or any of the individual Defendants notify Plaintiff that Seyfarth

was its litigation counsel which had defended and was continuing to defend

YU, certain YU administrators, and YU’s Board of Directors, from legal

claims brought by more than 50 men who claim that YU and certain YU

administrators covered up and/or facilitated their childhood sexual abuse by

several known sexual predator employees of YU.

      188. At no time during its “investigation” did Yeshiva University or

any of the individual Defendants notify Plaintiff that Seyfarth and Defendant

Kesselman had received substantial legal fees for the firm’s representation

of YU and was continuing to receive such fees for the firm’s continued




                                                                   48 | P a g e
representation of YU in sex abuse-related litigations filed in New York by

more than 50 CVA plaintiffs.

      189. Plaintiff first ascertained Seyfarth’s role as YU’s litigation

counsel for sex abuse claims on March 10, 2022, when she first met with her

counsel in this case.

       PLAINTIFF’S REQUESTS FOR SECURITY MEASURES

      190. Beginning in March, 2021 and continuing through November,

2021, Plaintiff repeatedly notified Dean Asher, Defendant Nissel, and

Defendants Kesselman and Miller, that PERRY DOE’s continued presence

on YU’s Wilf Campus was causing her much fear and anxiety.

      191. Following PERRY DOE’s rape of Plaintiff, PERRY DOE’s

continued and unregulated presence on campus and the accompanying risk

that Plaintiff might encounter PERRY DOE on campus created a hostile

environment that effectively deprived Plaintiff of the educational benefits

and opportunities provided by YU.

      192. Following Plaintiff’s assault, PERRY DOE’s continued,

unrestricted, and unregulated presence on Wilf Campus was harassing to

Plaintiff because it exposed her to the possibility of another encounter with

PERRY DOE and thus caused her to suffer much fear and anxiety.




                                                                   49 | P a g e
      193. When Plaintiff made her formal Title IX Complaint to YU,

Title IX regulations provided that YU was mandated to discuss and

implement appropriate “security measures” to protect Plaintiff both during

the pendency of YU’s “investigation” and after its determination was made.

      194. Such appropriate and reasonable security measures could have

included the following: (1) completely barring PERRY DOE from YU’s

Wilf Campus; (2) barring PERRY DOE from certain areas at Wilf Campus;

(3) barring PERRY DOE, completely or from certain areas, from YU’s Wilf

Campus at certain designated times (particularly when Plaintiff was

scheduled to be on campus); (4) removing PERRY DOE from the YU

Basketball Team and all team activities; and (5) providing Plaintiff with

campus escorts when she needed to be on YU’s Wilf Campus.

      195. At all material times, even though Plaintiff repeatedly

expressed to YU officials and agents her great fear and anxiety about

encountering PERRY DOE on Wilf Campus, and repeatedly requested that

YU implement appropriate security measures that would prevent Plaintiff

from encountering PERRY DOE on YU’s Wilf Campus, YU failed to

implement any security measures and failed to take any steps that would

protect Plaintiff or lessen her vulnerability posed by PERRY DOE’s

continued and unrestricted presence on campus.


                                                                 50 | P a g e
      196. In early September, 2021, during another discussion about

YU’s implementation of possible security measures to protect Plaintiff,

Dean Asher told Plaintiff that, in view of Plaintiff’s August 25, 2021 YU

Commentator article, there was now “too much bad blood” for YU to

implement any security measures to protect Plaintiff from PERRY DOE.

      197. YU, upon information and belief, retaliated against Plaintiff for

her protected activities by denying her any reasonable security measures.

Dean Asher so much as admitted this retaliatory motive in her September,

2021 conversation with Plaintiff.

      198. Dean Asher told Plaintiff that it was entirely up to PERRY

DOE as to whether, when, and/or where Plaintiff would encounter PERRY

DOE on YU’s Wilf Campus. YU’s conscious decision to leave Plaintiff

completely vulnerable to PERRY DOE was clear-cut retaliation against

Plaintiff by YU in response to Plaintiff’s exercise of her right to engage in

protected activities.

      199. YU’s failure to implement any security measures to protect

Plaintiff is even more egregious because YU administrators, officials,

directors, employees, and agents, including Defendants Lauer, Nissel,

Seyfarth, Kisselman, and Miller, knew or should have known that Plaintiff’s




                                                                   51 | P a g e
rape allegations against PERRY DOE were credible, truthful, and supported

by substantial corroborating evidence.

    YU BELATEDLY NOTIFIED PLAINTIFF THAT IT DID NOT
    TREAT HER RAPE COMPLAINT AS A TITLE IX MATTER

      200. In November, 2021, Plaintiff spoke directly with Defendant

Nissel for the first time.    They discussed her continued concerns and

demands for YU to implement reasonable security measures to protect her

on YU’s Wilf Campus. Several of Plaintiff’s friends participated in this

telephone call with Defendant Nissel and another YU administrator.

      201. During this November, 2021 meeting, Defendant Nissel told

Plaintiff for the first time that YU had not complied with Title IX’s rules,

regulations, and procedures with respect to her rape complaint against

PERRY DOE.

      202. Defendant Nissel also told Plaintiff that he and YU’s General

Counsel (Defendant Lauer) coordinated YU’s response to her formal Title

IX Complaint based on PERRY DOE’s rape.

      203. Defendant Nissel told Plaintiff that Title IX was not applicable

to her rape allegations because her alleged rape occurred “off-campus.”

      204. To date, YU has still not implemented any security measures to

protect Plaintiff and make her less vulnerable to sexual assault and has still

failed to take any steps that would protect Plaintiff or lessen her
                                                                   52 | P a g e
vulnerability as posed by PERRY DOE’s unrestricted and unregulated

presence on YU’s Wilf Campus.

      205. Defendant Nissel’s November, 2021 statement to Plaintiff as to

the applicability of Title IX was contrary to law and in violation of Title IX.

    TITLE IX DOES NOT AUTOMATICALLY EXCLUDE RAPE
         INCIDENTS WHICH OCCUR “OFF CAMPUS”

      206. On August 14, 2020, the U.S. Department of Education adopted

a number of new regulations pertaining to Title IX.

      207. These regulations were effective as of August 14, 2020, and

were memorialized in Volume 85 of the Federal Register, No. 97, May 19,

2020, “Non-Discrimination on the Basis of Sex in Education Programs on

Activities Receiving Federal Financial Assistance” (“85 Fed. Reg.”), at pp.

30026 to 30579.

      208. Upon information and belief, each of the Defendants was well

aware of these new Title IX regulations.          In fact, in 2021, Seyfarth

conducted an extensive training program for and/or on behalf of Yeshiva

University with respect to the content and impact of the new 2020 Title IX

regulations.

      209. The 2020 Title IX regulations, while noting that for Title IX to

be applicable, the sexual harassment or sexual abuse must occur within a



                                                                     53 | P a g e
school’s “education program or activity,” defined that term in the context of

both “on campus” and “off campus” conduct:

             Title IX is clearly applicable for “all incidents of
             sexual harassment occurring on a [school’s]
             campus[.]”

(85 Fed. Reg. at 30196).

             [T]he Department [of Education] reiterates that
             “off campus” does not automatically mean that the
             incident occurred outside the [school’s] education
             program or activity.

(Id. at 30198).

             The Department [of Education] reiterates that the
             final regulations do not impose a geographic test or
             draw a distinction between on-campus misconduct
             and off-campus misconduct.

(Id.).

             [W]hether conduct occurs in a [school’s] education
             program or activity does not necessarily depend on
             the geographic location of the incident.

(Id.).

             Instead, “education program or activity” relies on
             statutory or regulatory definitions of “program” or
             “activity,” on the statement adoption from the
             Supreme Court’s language in Davis added to §
             106.44(a) that education program or activity
             includes locations, events or circumstances over
             which the [school] exercised substantial control
             over the respondent (the accused party) and over
             the context in which the sexual harassment
             occurred, and includes on-campus and off-campus
                                                                    54 | P a g e
             buildings owned or controlled by a student
             organization officially recognized by a post-
             secondary institution.

(Id. at 30198-99) (emphasis added).

             [E]ven if a situation arises off campus it may still
             be part of the [school’s] education program or
             activity if the [school] exercised substantial control
             over the context and the alleged harasser.

(Id. at 30199 n. 875).

      210. The 2020 Title IX regulations specifically provide that Title IX

may be applicable when—as may have occurred here—a sexual assault

occurred in an off-campus residential apartment.

             While such situations may be fact specific,
             [schools] must consider whether, for example, a
             sexual harassment incident between two students
             that occurs in an off-campus apartment (i.e., not a
             dorm room provided by the [school]) is a situation
             over which the [school] exercised substantial
             control; if so, the [school] must respond when it
             has actual knowledge of sexual harassment or
             allegations of sexual harassment that occurred
             there.

(Id.) (emphasis added).

      211. Although “no single factor is determinative [as to] whether a

[school] exercised substantial control over the respondent [i.e., the accused

harasser] and the context in which the harassment occurred,” (85 Fed. Reg.

at 30197), the Department of Education mandates that all schools faced with


                                                                      55 | P a g e
threshold questions as to whether sexual harassment (or sexual assault)

occurred within a school’s “education program or activity” to the extent

necessary to trigger Title IX protections must carefully consider the scope of

each school’s own education program or activity. (Id. at 30198):

             To ensure that [schools] adequately consider the
             resulting coverage of Title IX to each [school’s]
             particular circumstances, the final regulations
             require that every Title IX Coordinator,
             investigator, decision-maker, and person who
             facilitates an informal resolution process, must be
             trained on (among other things) “the scope of the
             [school’s] education program or activity.”

(Id.) (quoting, Section 106.45(b)(1)(iii)) (emphasis added).

             [The Department of Education has] also revised §
             106.45(b)(10)(i)(D) so that materials used to train
             Title IX personnel must be posted on a [school’s]
             website. These revisions ensure that a school’s
             students and employees, and the public,
             understand the scope of the [school’s] education
             program or activity for purposes of Title IX.

(Id.) (emphasis added).

       212. Here, there are numerous factors which demonstrate that

Yeshiva University exercised substantial control over PERRY DOE,

Plaintiff, and the context in which PERRY DOE’s rape of Plaintiff (in his

apartment) occurred.

       213. YU’s Student Bill of Rights (Ex. C hereto), provides in relevant

part that:

                                                                   56 | P a g e
             The University is committed to providing options,
             support and assistance to victims/survivors of
             sexual assault, domestic violence, dating violence,
             and/or stalking to ensure that they can continue to
             participate in University-wide and campus
             programs, activities, and employment.           All
             victims/survivors of these crimes and violations
             have the following rights, regardless of whether
             the crime or violation occurs on campus, off
             campus, or while studying abroad.

             All students have the right to … : 2. Have
             disclosures of … sexual assault treated seriously
             … 4. Participate in a process that is fair, impartial,
             and provides adequate notice and a meaningful
             opportunity to be heard …

(Ex. C at 1) (emphasis added).

      214. YU’s Anti-Bullying and Hazing Policy for Students (Ex. D

hereto), which proscribes “bullying” which includes physical and/or sexual

assault, provides in relevant part that:

             This Policy is intended to protect all students of
             the University, and applies to conduct that occurs
             on University premises and/or at University-
             sponsored and affiliated activities and events,
             whether on University premises or at other
             locations … The University may also address off-
             campus behavior that occurs at other than
             University-sponsored or affiliated events if it
             determines that the behavior, or the continued
             presence of the accused perpetrator, impairs,
             obstructs, substantially interferes with or adversely
             affects the mission, process or functions of the
             University.

(Ex. D at 1) (emphasis added).
                                                                      57 | P a g e
      215. YU’s Policy on Protecting Athletes (Ex. E hereto) provides in

relevant part:

                The University is committed to ensuring the well-
                being, safety and protection of each of its student-
                athletes and will not tolerate bullying, hazing,
                harassment or other misconduct. In light of the
                influence, power and position of trust wielded by
                coaches and other members of the athletic staff, as
                well as the influence and power that may be
                wielded by other student-athletes, the University
                believes it is important to set forth guidelines to
                help define appropriate behavior and conduct of its
                athletic staff and student-athletes in order to
                cultivate a safe and positive environment for all
                student-athletes. These guidelines apply to the
                behavior and conduct of all members of the
                University athletic staff and student-athletes,
                whether on-campus or off-campus.

(Ex. E at 1) (emphasis added).

                The University prohibits, and will not tolerate, any
                form of sexual harassment, including sexual
                abuse/assault.

(Ex. E at 2).

                Sexual violence refers to physical contact with a
                sexual or intimate part of the body without
                consent. It includes various forms of sexual
                intercourse (e.g., rape, incest, statutory rape) as
                well as other forms of sexual touching (e.g.,
                fondling).

(Ex. E at 3).




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      216. YU’s Policy on Protecting Athletes also provides that any

violation of that policy should be reported to both YU’s Title IX Coordinator

and YU’s General Counsel. (Ex. E at 3).

      217. YU’s          Undergraduate    Student    Bill   of    Rights      and

Responsibilities/Undergraduate Student Disciplinary Procedures (attached

hereto as Ex. F), provides in relevant part that:

                Respect for one another is essential to preserving
                the spirit of community at Yeshiva University.
                Membership in the Yeshiva university community
                entails certain rights and responsibilities. All
                members of the community are accorded those
                rights, and are equally accountable to uphold their
                responsibilities.   It is therefore important to
                maintain a clear statement of basic rights,
                obligations and responsibilities concerning both
                academic and personal conduct.

(Ex. F at 2).

                Freedom from Discrimination

                Students who are otherwise qualified have the
                right to participate fully in the University
                community without discrimination as defined by
                federal, state and local law.

(Ex. F at 3).

                Safety

                Students have the right to an environment that is
                conducive to learning and without unreasonable
                concerns for personal safety. Behavior which is
                intimidating, threatening or hostile to individuals
                                                                      59 | P a g e
                or groups is therefore regarded as a serious
                offense. Abusive or harassing behavior, verbal or
                physical, which demeans, threatens or injures
                another is subject to University disciplinary action.

(Ex. F at 3).

                Discipline

                Students who are subject to University disciplinary
                action have the right to be treated with
                fundamental fairness.

(Ex. F at 3).

                Responsibilities of Undergraduate Students

                The exercise and preservation of these rights
                requires respect for the rights of all others in the
                community. Undergraduate students enrolled at
                Yeshiva University assume an obligation to
                conduct themselves in a manner that is civil and in
                accordance with the University’s function as an
                educational institution and performance of its
                mission. Students are therefore expected to exhibit
                responsible behavior regardless of time, place, and
                medium.

(Ex. F at 5).

                Yeshiva University is a community that has always
                prided itself on the high standards of behavior and
                scholarship to which all members are held. To
                fulfill its function and mission, the University
                retains the power to maintain order with the
                University and discipline those who are disruptive
                of the educational process or fail to abide by the
                University’s rules and regulations.

(Ex. F at 5).
                                                                        60 | P a g e
                UNDERGRADUATE STUDENT
                DISCIPLINARY PROCEDURES

                Yeshiva University undergraduate students are
                expected and required to abide by the policies,
                rules and regulations established by the University
                including, but not limited to, what is stated in the
                University’s publications and websites and in the
                Undergraduate Student Bill of Rights and
                Responsibilities. Students are expected to conduct
                themselves in accordance with the highest ethical
                and moral standards. Prohibited behavior includes
                acts that are dishonest, immoral or unlawful; acts
                that cause damage to property or harm to oneself
                or to others; or acts that bring shame upon the
                institution.

(Ex. F at 7).

                Students who violate any of these policies, rules,
                regulations and other requirements are subject to
                disciplinary action, whether the conduct occurs in
                any University facility, or in connection with any
                University-sponsored activity.       In addition,
                students whose off campus conduct violates any of
                those policies, rules, regulations or other
                requirements may also be subject to University
                discipline.      The University may impose
                appropriate sanction which may include, but are
                not limited to, letters of admonition, probation,
                loss of privileges, and/or suspension or expulsion
                from University housing or the University in
                general.

(Ex. F at 7) (emphasis added).

      218. Yeshiva University, at all material times, thus maintained

disciplinary and supervisory authority over PERRY DOE (for his rape of


                                                                       61 | P a g e
Plaintiff in his apartment) and YU also had an affirmative duty to take

appropriate steps and measures to protect Plaintiff. Accordingly, PERRY

DOE’s rape of Plaintiff in his apartment constitutes a sexual harassment

incident over which YU had substantial control over both the respondent

(i.e., the accused party, PERRY DOE), the complainant (Plaintiff), and the

context in which PERRY DOE’s rape/harassment of Plaintiff occurred.

      219. YU therefore, pursuant to Title IX and the 2020 Title IX

regulations, had a legal duty to respond to Plaintiff’s Title IX Complaint, as

it occurred within YU’s unique “education program and activity.”

      220. YU, and the YU Defendants, Lauer, Nissel, Seyfarth,

Kesselman, and Miller, were legally obligated to apply Title IX and its rules,

regulations, and required procedures to Plaintiff’s rape complaint against

PERRY DOE.

      221. The YU Defendants violated Title IX, in the context of their

threshold determination—which they never conveyed to Plaintiff—to

dismiss her Title IX Complaint for failure to meet Title IX’s education

program and activity jurisdictional requirement allegedly because Plaintiff

claimed that PERRY DOE had raped her in his “off-campus” apartment

because: (1) the YU Defendants, YU, Lauer, Nissel, Seyfarth, Kesselman,

and Miller, failed to send Plaintiff written notice of their dismissal of her


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formal Title IX Complaint in violation of § 106.45(b)(3)(iii); (2) the YU

Defendants failed to send Plaintiff written notice of their dismissal of her

Title IX Complaint with “the reasons therefor” in violation of §

106.45(b)(3)(iii); (3) the YU Defendants failed to provide Plaintiff with any

opportunity to appeal their dismissal of Plaintiff’s formal Title IX

Complaint, pursuant to § 106.45(b)(3)(i) on the alleged basis that Plaintiff

failed to establish that her rape occurred within YU’s “education program or

activity;” (4) the YU Defendants, specifically Lauer, Nissel, Seyfarth,

Kesselman, and Miller, failed to carefully consider the proper scope of YU’s

“education program and activity” in the context of the circumstances alleged

by Plaintiff in violation of the 2020 Title IX Regulations (see 85 Fed. Reg. at

30198; Section 106.45(b)(1)(iii)); (5) the YU Defendants, particularly Lauer,

Nissel, Seyfarth, Kesselman, and Miller, failed to receive the mandated

training on the scope of YU’s “education program or activity.” (See 85 Fed.

Reg. at 30198); (6) Yeshiva University failed to post any materials as to the

mandatory training of its Title IX personnel with respect to the scope of

YU’s “education program or activity” on its website. (See 85 Fed. Reg. at

30198; Section 106.45(b)(10)(i)(D)); and (7) PERRY DOE’s rape of

Plaintiff in his apartment met Title IX’s “education program or activity”

jurisdictional requirement, and implicated all Title IX rules, regulations, and


                                                                    63 | P a g e
procedures, because YU had substantial control over PERRY DOE,

including broad disciplinary and supervisory authority over him, as well as

substantial control over the complainant (Plaintiff), and the context of

PERRY DOE’s rape of Plaintiff in his apartment.

           YU’S “NOT RESPONSIBLE” DETERMINATION

      222. In March, 2021, Plaintiff was interviewed several times about

her rape allegations against PERRY DOE by the Seyfarth attorneys.

      223. The Seyfarth attorneys interviewed Plaintiff in great detail and

asked her many of the same questions about emotionally difficult subjects on

numerous occasions. Upon information and belief, the Seyfarth attorneys

did not subject PERRY DOE to the same level of scrutiny and did not ask

him to repeatedly convey his version of the relevant events.

      224. From March, 2021 through April, 2021, Plaintiff repeatedly

told Dean Sara Asher and the Seyfarth attorneys that she had significant fear

and anxiety about the likelihood of encountering PERRY DOE on YU’s

Wilf Campus and, as Plaintiff reasonably feared for her physical safety, she

wanted reasonable security measures to be put in place at YU.

      225. On or about April 29, 2021, Defendant Nissel emailed Plaintiff

that the Seyfarth attorneys had completed their investigative report and that

such report was available for Plaintiff’s review.


                                                                   64 | P a g e
      226. Defendant Nissel, however, insisted that Plaintiff execute a

non-disclosure agreement before YU would provide Plaintiff with access to

the Seyfarth attorneys’ investigative report.

      227. This request was illegal, as The Clery Act provides that a

college or university is required to provide participants (including

complainants) with full and unfettered access to all Title IX investigatory

reports and relevant evidence and may not place any pre-conditions on such

parties’ receipt of said reports and/or evidence.

      228. Plaintiff, not represented by a lawyer, did not know that YU

was forbidden by law from mandating that she sign a non-disclosure

agreement before receiving the investigative report and summary of relevant

evidence related to her Title IX rape complaint.

      229. Accordingly, on April 29, 2021, Plaintiff executed the non-

disclosure agreement (Ex. G hereto) drafted and tendered to her by YU.

      230. Upon information and belief, said non-disclosure agreement is

null and void and of no force and effect. Plaintiff seeks a declaratory

judgment from this Court which makes that legal determination and finding.

      231. YU provided Plaintiff with an encrypted copy of the Seyfarth

attorneys’ investigative report on or about April 30, 2021.




                                                                 65 | P a g e
      232. As this investigative report rehashed her traumatic rape

narrative, and contained complicated legal language, Plaintiff reviewed this

investigative report from her computer but did not understand many of its

terms as well as its overall impact and effect.

      233. YU caused the encrypted document to no longer be reviewable,

by Plaintiff and/or an attorney or advisor, within just a few days after her

receipt of that encrypted document.

      234. When YU erased the encrypted document from Plaintiff’s

computer, Plaintiff had not reviewed such document with an attorney or

anyone else.

      235. At the outset of their “investigation,” Plaintiff advised the

Seyfarth attorneys that she had undergone a rape examination at Columbia

Presbyterian Hospital, and that the Hospital had collected “rape kit”

evidence from her, on January 25, 2021 (the day after her rape). Plaintiff

also provided Seyfarth attorneys with a copy of her discharge form from

Columbia Presbyterian Hospital for January 25, 2021.

      236. At no time during their “investigation,” did the Seyfarth

attorneys ever ask Plaintiff to provide her consent for them to obtain her rape

kit evidence (including photographs of bruises on her body) from Columbia

Presbyterian Hospital.


                                                                    66 | P a g e
      237. At no time during their “investigation,” did the Seyfarth

attorneys ask Plaintiff for her consent for them to interview the Nurse

Examiner who conducted Plaintiff’s rape kit examination at Columbia

Presbyterian Hospital on January 25, 2021.

      238. Plaintiff was not aware that she needed to provide the Seyfarth

attorneys with her specific consent to examine the rape kit evidence in order

for Seyfarth attorneys to obtain or examine that evidence from Columbia

Presbyterian Hospital.    When she provided Seyfarth with her hospital

discharge form (for January 25, 2021), she assumed that the Seyfarth

attorneys had access to obtain and review her rape kit evidence.          The

Seyfarth attorneys never told her or suggested otherwise.

      239. The Seyfarth attorneys’ failure to obtain or request Plaintiff’s

rape kit evidence—which would have provided strong evidentiary support

for Plaintiff’s rape allegations—has no innocent or innocuous explanation.

      240. Only “investigators” who had no interest in ascertaining the

truth would have turned their backs on this extremely probative evidence.

      241. On May 26, 2021, Defendant Nissel forwarded a letter to

Plaintiff (Ex. A hereto) in which he stated that “After an extensive

investigation, it has been determined that the evidence does not support a




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finding that [PERRY DOE] violated the [University’s Non-Discrimination

and Anti-Harassment] Policy.”

      242. This May 26, 2021 letter did not provide any reasons or

rationale for YU’s “not responsible” determination and failed to summarize

the evidence considered or YU’s assessment of the credibility of the

witnesses and the evidence considered by YU’s “investigators.”

      243. Nor did this May 26, 2021 letter provide Plaintiff with notice

that the Seyfarth attorneys’ potential conflicts of interest or biases in favor of

YU and PERRY DOE may have served as a basis for an appeal.

      244. In this May 26, 2021 letter, Defendant Nissel did not

summarize the relevant evidence and provided no facts, grounds, reasons, or

rationales for YU’s “not responsible” determination.

      245. Defendant Nissel also failed to notify Plaintiff that, inter alia,

conflicts of interest or biases were a potential basis of appeal of YU’s

dismissal of Plaintiff’s Title IX Complaint.

      246. In or about June, 2021, Plaintiff repeatedly attempted to appeal

YU’s “not responsible” determination on the basis that YU failed to consider

her probative rape kit evidence.

      247. Defendant Nissel repeatedly rejected her efforts at appeal,

failed to convene an appeal panel as required by both Title IX and YU’s own


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Policy, and failed to review or have any appeal panel, or any YU employee

or agent, review Plaintiff’s unexamined yet critical rape kit evidence. Upon

information and belief, Defendant Nissel consulted with and received advice

or direction from Defendant Lauer, YU’s General Counsel, prior to rejecting

Plaintiff’s repeated attempts to appeal YU’s “not responsible” determination

based on the probative rape kit evidence that the YU “investigators” ignored.

        248. YU’s and Defendant Nissel’s consistent failure to permit

Plaintiff to allow her probative “rape kit” evidence to be reviewed and

considered on appeal, has no innocent or innocuous explanation.

        249. Only a university and Title IX Coordinator who have no

interest in ascertaining the truth and are invested in the success of a rape

cover-up, would continue to block Plaintiff from being able to present her

“rape kit” evidence to the YU fact-finders.

                      COUNT ONE:
  VIOLATION OF TITLE IX (AGAINST YESHIVA UNIVERSITY)

        250. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

        251. Title IX, 20 U.S.C. § 1681 (a) (1972), provides in pertinent part

that:

              No person in the United States shall, on the basis
              of sex, be excluded from participation in, be
              denied the benefits of, or be subjected to
                                                                    69 | P a g e
               discrimination under any education program or
               activity receiving Federal financial assistance.

         252. Title IX regulates all schools that receive federal funding,

including Yeshiva University.

         253. Title IX provides a private cause of action against a recipient of

federal funds for discrimination based on sex, sexual harassment, and sexual

abuse.

         254. Indeed, a single sexual assault (which Plaintiff in this case

suffered) constitutes severe and objectively offensive sexual harassment for

Title IX purposes.

         255. YU, upon information and belief, is and was at all material

times a university that is a recipient of federal financial assistance, and is

thus subject to Title IX.

Post-Assault Claim

         256. YU is liable to the Plaintiff under Title IX because, at all

material times, high-ranking administrators and officials of YU with

remedial and corrective authority were deliberately indifferent to a known

act of sexual abuse and/or sexual harassment (i.e., PERRY DOE’s rape of

Plaintiff), which occurred under YU’s substantial control of PERRY DOE

and the context of his rape of Plaintiff, as part of YU’s unique education

programs and activities.
                                                                      70 | P a g e
      257. Indeed, Defendant YU’s deliberate indifference to its high-

ranking administrators’ and officials’ actual knowledge of PERRY DOE’s

rape of Plaintiff in his apartment, made female students (particularly

Plaintiff), vulnerable to sexual abuse, sexual harassment, and discrimination

at YU.

      258. As YU took no punitive action against PERRY DOE and no

remedial action on behalf of Plaintiff, and YU failed to conduct a real,

legitimate, fair, and impartial investigation, failed to implement any

reasonable security measures, and failed to permit Plaintiff to appeal YU’s

“not responsible” determination, Plaintiff was subject to frequent and regular

interactions with PERRY DOE on YU’s campus. These interactions made

Plaintiff particularly vulnerable to further sexual abuse, sexual harassment,

and discrimination from PERRY DOE. YU’s deliberate indifference to the

conduct of PERRY DOE, and its failure to restrict, regulate, or monitor

PERRY DOE’s presence on YU’s Wilf Campus, or to provide Plaintiff with

any reasonable security measures at YU’s Wilf Campus, created a hostile

educational environment at YU (particularly on its Wilf Campus) which

caused Plaintiff to fear for her physical safety.

      259. Plaintiff, moreover, did suffer continued sexual harassment and

discrimination at YU as a result of the deliberate indifference of high-


                                                                   71 | P a g e
ranking YU administrators and officials with remedial and corrective

authority in the face of their actual knowledge that Plaintiff had suffered,

and was continuing to suffer, sexual abuse, sexual harassment, and

discrimination at YU.

      260. At least one of the other members of the YU basketball team

ascertained that Plaintiff had accused PERRY DOE of rape. This basketball

player, formerly Plaintiff’s friend, proceeded to slut-shame her in a social

situation, called her a “whore” and a “slut,” insulted her character, and

impugned her credibility. This former friend told Plaintiff: “You’re so

dumb for letting this happen to you.”

      261. Upon information and belief, at all material times, YU and its

high-ranking administrators and officials had actual knowledge of a

substantial risk of serious harm to students, such as Plaintiff and other

female students, in a context where multiple prior allegations of rape, sexual

abuse, and sexual harassment of female YU students had been lodged

against various YU students and these sexual misconduct, rape, and sexual

harassment allegations (including Plaintiff’s allegations against PERRY

DOE) were well known to various high-ranking administrators, Board of

Directors members, officials, and employees of YU.




                                                                    72 | P a g e
      262. Upon information and belief, at all material times, PERRY

DOE targeted, discriminated against, raped, and sexually harassed Plaintiff

at YU, because she was a female, and YU’s high-ranking administrators,

officials, and directors, had actual knowledge that PERRY DOE, a

participant in YU’s education programs and activities, had sexually abused

and sexually harassed Plaintiff because she was a woman.

      263. YU and its administrators and directors, at all material times,

had the authority and obligation to investigate Plaintiff’s rape and sexual

abuse allegations against PERRY DOE as a Title IX matter, and take all

appropriate enforcement, punitive, or remedial actions against PERRY DOE

or on behalf of Plaintiff, but deliberately and maliciously chose not to do so,

and deliberately and maliciously deceived Plaintiff about their Title IX

jurisdictional and legal authority.

      264. YU and its administrators, officials, and directors, therefore, at

all material times, had the authority and obligation to punish and take

appropriate enforcement action against one of its students, PERRY DOE, for

his rape and sexual abuse of Plaintiff, but deliberately and maliciously chose

not to do so, and deliberately and maliciously lied to Plaintiff about YU’s

Title IX jurisdictional and legal authority to punish and take appropriate

enforcement action against PERRY DOE.


                                                                    73 | P a g e
      265. Plaintiff, at all material times, relied upon YU’s aforesaid

representations (orally and in writing) to her.

      266. YU took no remedial action, failed to conduct a real, bona fide,

fair, and impartial investigation of Plaintiff’s rape allegations, implemented

no security measures to protect Plaintiff, failed to impose any disciplinary

measures against PERRY DOE for his alleged misconduct, and failed to

permit Plaintiff to appeal YU’s “not responsible” determination.

      267. YU’s deliberate indifference to its actual knowledge of

Plaintiff’s Title IX Complaint, includes its blatant disregard for the rules,

regulations, and procedures of Title IX and its implementing regulations.

      268. Indeed, YU violated Title IX by, inter alia:

             (1)    failing to provide Plaintiff with notice of its dismissal of

                    Plaintiff’s Title IX Complaint;

             (2)    failing to provide Plaintiff with the reasons for its

                    dismissal of Plaintiff Title IX Complaint;

             (3)    failing to carefully consider the scope of YU’s education

                    program and activities in the context of allegations that

                    one YU student-athlete raped another YU student-athlete

                    in his residential apartment;




                                                                     74 | P a g e
(4)   failing to provide its Title IX Coordinator and/or its Title

      IX investigators (i.e., the Seyfarth attorneys) with the

      requisite training as to the scope of its education

      programs or activities;

(5)   failing to publish on the YU website such training

      materials and information;

(6)   failing to conduct a live hearing for Plaintiff’s rape

      complaint;

(7)   failing to provide Plaintiff with an attorney/advisor with

      respect to the “investigation” of her rape allegations

      against PERRY DOE;

(8)   failing to subject PERRY DOE to examination or cross-

      examination with respect to Plaintiff’s rape allegations

      against him;

(9)   failing to fairly and impartially collect and examine all

      relevant evidence;

(10) failing to interview several fact witnesses whom Plaintiff

      had specifically identified;

(11) failing to request and obtain Plaintiff’s probative rape kit

      evidence from Columbia Presbyterian Hospital;


                                                       75 | P a g e
(12) failing to notify Plaintiff that she was required to provide

      her consent to Columbia Presbyterian Hospital in order

      for Columbia Presbyterian Hospital to provide and/or

      show the Seyfarth attorneys Plaintiff’s probative rape kit

      evidence;

(13) failing to request and examine photographs taken by

      Columbia Presbyterian Hospital’s Nurse Examiner,

      which depicted bruises that PERRY DOE inflicted upon

      Plaintiff’s body while he raped her;

(14) failing to conduct a real, bona fide, and impartial

      investigation of Plaintiff’s rape allegations against

      PERRY DOE;

(15) failing to permit Plaintiff to appeal YU’s “not

      responsible” determination;

(16) failing to disclose to Plaintiff the blatant conflicts of

      interest and biases of Seyfarth Shaw, LLP, Kesselman,

      and Miller, in favor of YU and PERRY DOE and against

      Plaintiff;

(17) failing to notify Plaintiff that the “conflict of interest” or

      “bias” of the “investigators” of her rape allegation was a


                                                        76 | P a g e
                   possible ground for her to appeal YU’s “not responsible”

                   determination;

            (18) failing and refusing to provide Plaintiff with any

                   reasonable security measures to protect Plaintiff from

                   possible encounters with PERRY DOE on YU’s Wilf

                   Campus; and

            (19) failing to treat Plaintiff and PERRY DOE equally and

                   impartially as, upon information and belief, the Seyfarth

                   attorneys cruelly asked Plaintiff to answer the same or

                   nearly identical questions about the most traumatic event

                   of her life on multiple occasions while not affording

                   PERRY DOE that same level of scrutiny with respect to

                   his version of events.

      269. As a direct and proximate result of the aforesaid actions of YU,

Plaintiff suffered severe emotional distress, mental anguish, and emotional

and physical pain and suffering.

      270. YU’s response to PERRY DOE’s known discrimination against

Plaintiff constitutes deliberate indifference and was clearly unreasonable in

light of all of the known circumstances.




                                                                   77 | P a g e
Pre-Assault Claim

       271. Even prior to PERRY DOE’s rape of Plaintiff on January 24,

2021, YU engaged in conduct which violated Title IX.

       272. At all times from 2001 to present, by expressly adopting and

approving a policy to not report all sex crimes that occurred on or near YU’s

Wilf Campus and/or Beren Campus, to the U.S. Department of Education

(and to its students and prospective students in YU’s annual Security

Reports for its campuses), YU maintained a policy of deliberate indifference

to sexual harassment and sexual misconduct.

       273. At all material times from 2001 to present, YU and its high-

ranking administrators and directors, including YU Presidents, Norman

Lamm, Richard Joel, and Ari Berman, its General Counsel, Andrew “Avi”

Lauer, Esq., and its Title IX Coordinator, Chaim Nissel, had actual and

specific knowledge that female participants in YU’s education programs and

activities had a heightened risk of sexual assault, rape, and sexual

harassment because of their participation in such education programs or

activities.

       274. Indeed, by adopting its policy of gross non-compliance with

The Clery Act’s crime reporting requirements, and its deliberate non-

reporting of sex crimes that occurred on or near YU’s campuses, YU and its


                                                                   78 | P a g e
high-ranking administrators deliberately and maliciously painted a false and

inaccurate picture of safety at or near YU’s campuses for female students,

and this increased YU’s female students’ risks of suffering rapes and sexual

assaults (particularly by other YU students) on or near YU’s campuses.

      275. Moreover, by reason of YU’s non-reporting policy, YU and its

administrators knew that female students at YU were deprived of a

reasonable ability or mechanism to report rapes or sexual assaults that

occurred on or near YU’s campuses and/or were perpetuated by male YU

students against female YU students.

      276. At all material times, all student participants in YU’s education

programs and activities, including Plaintiff and PERRY DOE, were subject

to the control, jurisdiction, and authority of YU, pursuant to Title IX, YU’s

school policies, procedures, and practices, and/or otherwise.

      277. As a direct and proximate result of YU’s acts and omissions

prior to PERRY DOE’s rape of Plaintiff on January 24, 2021, Plaintiff was

raped by PERRY DOE and thus suffered harassment and sexual abuse that

was so severe, pervasive, and objectively unreasonable, that it deprived

Plaintiff of educational opportunities and benefits provided by YU.

      278. Accordingly, YU is liable to Plaintiff under Title IX for

adopting, implementing, and maintaining a policy of deliberate non-


                                                                      79 | P a g e
reporting of sex crimes (in violation of The Clery Act) that occurred on or

near YU’s campuses to the U.S. Department of Education and all YU

students and/or prospective YU students.

      279. YU’s adoption of the non-reporting of sex crimes as the

University’s official school policy, discriminated against all female student

participants in YU’s education programs and activities (including Plaintiff)

on the basis of sex.

Harm Caused By YU’s Title IX Violations

      280. At all material times, YU’s conduct towards Plaintiff was

willful, wanton, intentional, and malicious, and constituted evil-minded acts

accompanied by a wanton and willful disregard of Plaintiff’s rights,

interests, and welfare.

      281. At all material times, YU’s conduct towards Plaintiff was

seriously harmful to the public—which has a compelling interest in ensuring

that college students within the community—including Plaintiff—be free

from sexual abuse and harassment, as well as retaliation in the form of

unwarranted adverse actions, in a college or university environment.

      282. As a direct and proximate result of YU’s conduct prior to

January 24, 2021, Plaintiff was raped by PERRY DOE and suffered and




                                                                   80 | P a g e
continues to suffer from severe emotional distress, pain and suffering, and

mental anguish.

      283. As a direct and proximate result of YU’s violation of Title IX,

Plaintiff suffered horrendous sexual abuse, sexual harassment, verbal abuse,

and severe emotional distress and mental anguish.

      284. As a direct and proximate result of YU’s misconduct, Plaintiff

has suffered, and continues to suffer, from severe emotional distress and

emotional anguish.

      285. PERRY DOE’s rape of Plaintiff on January 24, 2021, and YU’s

failure to restrict or limit his presence on YU’s Wilf Campus thereafter,

constituted gender bias and harassment so severe, pervasive, and objectively

offensive that it deprived Plaintiff of access to the educational opportunities

and benefits provided by YU.

      286. PERRY DOE’s rape, sexual abuse and harassment of Plaintiff

was exacerbated by the post-assault sexual harassment and verbal abuse of

Plaintiff by other YU students, in which they mocked and ridiculed Plaintiff

for her rape allegations, and impugned Plaintiff’s honesty and credibility

about her rape allegations.

      287. All of this harassment had a concrete, negative effect on

Plaintiff’s ability to receive an education at YU.


                                                                    81 | P a g e
       288. The aforementioned sexual harassment of Plaintiff by PERRY

DOE and others, was so severe, pervasive and objectively offensive, that it

grossly undermined and detracted from Plaintiff’s educational experience at

YU, impacted her ability to perform academically, and effectively denied

Plaintiff equal access to YU’s resources, opportunities, and benefits.

       289. All of this harm to Plaintiff was reasonably foreseeable to YU

at the time of its violation[s] of Title IX.

       290. Plaintiff, pursuant to 42 U.S.C. § 1988, and related authority,

also seeks and is entitled to receive all reasonable attorneys’ fees, costs, and

expenses, to be incurred in connection with his Title IX claims.

       291. Plaintiff is thus entitled to compensatory damages and

reasonable attorneys’ fees, costs, and expenses incurred in the prosecution of

her Title IX claims, from Defendant YU.

                        COUNT TWO:
             RETALIATION IN VIOLATION OF TITLE IX
                (AGAINST YESHIVA UNIVERSITY)

       292. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

       293. Retaliation against individuals because they complain of sex

discrimination is intentional discrimination that violates the clear terms of

Title IX.


                                                                     82 | P a g e
       294. On or about February 18, 2021, Plaintiff was engaged in

protected activities when she complained to YU’s Title IX Office about

PERRY DOE’s rape and sexual abuse.

       295. From March, 2021 through June, 2021, Plaintiff was engaged in

protected activities when she participated in YU’s “investigation” of her

rape allegations.

       296. From February, 2021 through November, 2021, Plaintiff was

engaged in protected activities when she repeatedly requested that YU

implement reasonable security measures to protect her from PERRY DOE

on YU’s Wilf Campus.

       297. At all material times, Defendant, YU, and its various high-

ranking administrators, agents, and employees, including Lauer and Nissel,

had actual and/or constructive knowledge of the aforesaid protected

activities of Plaintiff.

       298. In or about 2021, Defendant YU took adverse school-related

action against Plaintiff, through its administrators, agents, and employees, by

failing and refusing to provide Plaintiff with a real, bona fide, fair, and

impartial investigation of her rape allegations against PERRY DOE, failing

and refusing to implement any reasonable security measures to protect

Plaintiff from PERRY DOE on YU’s Wilf Campus, and failing to permit


                                                                    83 | P a g e
Plaintiff to appeal YU’s “not responsible” determination with respect to

PERRY DOE’s conduct.

      299. As a direct and proximate result of Plaintiff’s rape, sexual

abuse, and sexual harassment claims, Defendant YU took the aforesaid

school-related adverse retaliatory actions against Plaintiff shortly after

Plaintiff complained to Defendant YU and its administrators, repeatedly, and

in detail, about her rape, sexual abuse, and sexual harassment by PERRY

DOE—shortly after Plaintiff requested that YU implement reasonable

security measures that would protect her from PERRY DOE on YU’s Wilf

Campus—and shortly after Plaintiff attempted to appeal YU’s “not

responsible” determination with respect to PERRY DOE’s conduct.

      300. YU took all of these school-related adverse actions against

Plaintiff in retaliation for her allegations of rape and sexual abuse against

PERRY DOE.

      301. As a direct and proximate result of Defendant YU’s conduct,

Plaintiff suffered severe emotional anguish and pain and suffering, a severe

loss of self-esteem, self-confidence, and self-worth, and humiliation.

      302. As a direct and proximate result of the aforesaid actions of YU,

Plaintiff suffered severe emotional distress, mental anguish and emotional

and physical pain and suffering.


                                                                    84 | P a g e
      303. At all material times, a retaliatory motive held and acted upon

by the YU Defendants played a part in YU’s above-referenced adverse

actions against Plaintiff. The YU Defendants, indeed, were enraged and

horrified that a female YU student-athlete would publicly accuse a fellow

YU student-athlete of a violent and unprovoked rape, and YU became even

more enraged when Plaintiff refused to accept YU’s sham investigation and

bogus determination of her rape complaint—and wrote a critical letter to

YU’s student newspaper which documented her ordeal.

      304. The temporal proximity of Plaintiff’s protected activities and

YU’s adverse actions against her is by itself sufficient to establish the

requisite causal connection for Plaintiff’s Title IX retaliation claim.

      305. The above-described actions of Defendant YU against Plaintiff

were willful, wanton, and malicious, harmed the community’s interest in

ensuring that its colleges and universities do not tolerate an environment

where the rape, sexual abuse, and/or sexual harassment of students by other

students is tolerated, condoned, or encouraged.

      306. Plaintiff is entitled to recover reasonable attorneys’ fees from

Defendant YU, pursuant to 42 U.S.C. § 1988, or other authority.




                                                                      85 | P a g e
      307. As a direct and proximate result of Defendant YU’s aforesaid

conduct towards Plaintiff, Plaintiff is entitled to recover compensatory

damages, and reasonable attorneys’ fees.

                    COUNT THREE:
    VIOLATION OF NYCHRL, N.Y.C. ADMIN. CODE § 8-107(4)
            (AGAINST YESHIVA UNIVERSITY)

      308. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

      309. Pursuant to the New York City Council’s enactment of the

Local Civil Rights Restoration Act of 2005 (“Restoration Act”), claims

under the New York City Human Rights Law (“NYCHRL”) should not be

treated merely as coextensive with state and federal civil rights statutes.

      310. The NYCHRL, indeed, is a one-way ratchet, by which

interpretations of state and federal civil rights statutes can only serve as a

floor below which the City’s Human Rights Law cannot fall.

      311. Thus, the NYCHRL’s standards governing discrimination

claims are as or more generous to plaintiffs than those under analogous

federal statutes—including Title IX—so that a claim that satisfies federal

law necessarily satisfies the NYCHRL.

      312. Moreover, NYCHRL provisions must be construed liberally for

the accomplishment of its uniquely broad and remedial purposes.


                                                                      86 | P a g e
      313. This is true even if similar federal or New York State civil and

human rights laws with comparably worded provisions have been construed

more narrowly.

      314. Because the NYCHRL standard is more liberal than the

corresponding federal and state law standards, courts must analyze

NYCHRL claims separately and independently from any federal and state

law claims.

      315. A plaintiff who has sufficiently pleaded a discrimination claim

under Title IX has also adequately pleaded a corresponding discrimination

claim under the NYCHRL.

      316. N.Y.C. Admin. Code § 8-107(4) provides in relevant part:

              4. Public accommodations.

               a. It shall be an unlawful discriminatory practice
              for any person who is the owner, franchisor,
              franchisee, lessor, lessee, proprietor, manager,
              superintendent, agent or employee of any place or
              provider of public accommodation:

              1. Because of any person’s actual or perceived
              race, creed, color, national origin, age, gender,
              disability, marital status, partnership status, sexual
              orientation, uniformed service or immigration or
              citizenship status, directly or indirectly:

              (a) To refuse, withhold from or deny to such
              person the full and equal enjoyment, on equal
              terms and conditions, of any of the
              accommodations, advantages, services, facilities or
                                                                       87 | P a g e
           privileges of the place or provider of public
           accommodation; …

     317. N.Y.C. Admin. Code § 8-102, which sets forth the definitions

of terms used under the NYCHRL, defines place or provider of public

accommodation as follows:

           The term “place or provider of public
           accommodation” includes providers, whether
           licensed or unlicensed, of goods, services,
           facilities,    accommodations,      advantages      or
           privileges of any kind, and places, whether
           licensed or unlicensed, where goods, services,
           facilities,    accommodations,      advantages      or
           privileges of any kind are extended, offered, sold,
           or otherwise made available. Such term does not
           include any club which proves that it is in its
           nature distinctly private. A club is not in its nature
           distinctly private if it has more than 400 members,
           provides regular meal service and regularly
           receives payments for dues, fees, use of space,
           facilities, services, meals or beverages directly or
           indirectly from or on behalf of non-members for
           the furtherance of trade or business. For the
           purposes of this definition, a corporation
           incorporated under the benevolent orders law
           or described in the benevolent orders law but
           formed under any other law of this state, or a
           religious corporation incorporated under the
           education law or the religious corporation law
           is deemed to be in its nature distinctly private.
           No club that sponsors or conducts any amateur
           athletic contest or sparring exhibition and
           advertises or bills such contest or exhibition as a
           New York state championship contest or uses the
           words “New York state” in its announcements is a
           private exhibition within the meaning of this
           definition.
                                                                    88 | P a g e
(Emphasis added).

      318. Yeshiva University is not a “religious corporation” that is

exempt from § 8-107(4), pursuant to § 8-102.

      319. YU is, and at all material times, has been, incorporated under

the New York Education Law.

      320. YU’s own Amendment to its Charter adopted December 15,

1967 provides that:

            1. This corporation, incorporated as The Rabbi
            Isaac Eichanan Theological Seminary Association
            under the Membership Corporations Law of the
            State of New York on March 20, 1897, the name
            of which was subsequently changed by the
            Regents of the University of the State of New
            York to Yeshiva University, is hereby continued as
            an educational corporation under the Education
            Law of the State of New York …

            …

            9. Yeshiva University is and continues to be
            organized and operated exclusively for
            educational purposes …

(Emphasis added).

      321. YU’s organizing documents do not expressly indicate that YU

has a religious purpose.    To the contrary, YU organized itself as an

“educational corporation” and for educational purposes, exclusively.



                                                                  89 | P a g e
      322. YU’s amended charter represented a departure from its initial

charter which stated an exclusively religious purpose, to wit, “to promote the

study of Talmud”.

      323. Then, in 1967, YU amended its charter to state that it “is and

continues to be organized and operated exclusively for educational

purposes”.

      324. In an April 27, 2021 letter from faculty members of YU’s

Benjamin N. Cardozo Law School to YU’s President, Ari Berman, the

authors emphasized that YU, “as a non-sectarian institution of higher

education, must abide by the “proscriptions” contained “under federal, state,

and city civil rights laws, all of which prohibit discrimination on the basis of

sex[.]”

      325. Law professors within YU’s own community have thus

recognized that YU is not a religious corporation and is subject to the

NYCHRL.

      326. While the 1965 NYCHRL excluded “colleges and universities”

from classification as a place of public accommodation, in 1991 the New

York City Council removed this exemption from the NYCHRL.                   The

NYCHRL thus applies to Yeshiva University.




                                                                     90 | P a g e
      327. The legislative intent of the NYCHRL requires that any

exemptions be narrowly construed in order to minimize discriminatory

conduct.

      328. YU is a place of public accommodation as set forth in N.Y.C.

Admin. Code § 8-107(4).

      329. N.Y.C. Admin. Code § 8-107(4) prohibits any entity which is a

place of public accommodation, from discriminating against any person,

through any of its agents or employees, on the basis of sex.

      330. For the reasons set forth above, pursuant to the NYCHRL,

Plaintiff is entitled to recover compensatory damages from YU.

      331. YU’s conduct, and the conduct of YU’s agents and employees,

was willful, malicious, shocking, outrageous, and negatively affected the

emotional and physical health of Plaintiff, caused Plaintiff to suffer severe

emotional distress and mental anguish, and gives rise to egregious emotional

distress damages.

      332. YU engaged in discrimination against Plaintiff on the basis of

sex with willful and wanton negligence or recklessness, as well as a

conscious disregard of the rights of others, and/or engaged in conduct so

reckless as to amount to such disregard.




                                                                   91 | P a g e
      333. At all material times, Defendants had knowledge that their

conduct towards Plaintiff, and their handling of her rape allegations, was in

violation of city, state, and federal anti-discrimination laws.

      334. As a result of YU’s violation of the NYCHRL, Plaintiff is

entitled to punitive damages.

      335. Plaintiff, pursuant to N.Y.C. Admin. Code § 8-502(g), and

related authority, also seeks and is entitled to receive all reasonable

attorneys’ fees, costs, and expenses, to be incurred in connection with her

NYCHRL claims.

      336. Plaintiff is thus entitled to compensatory damages, including

damages for her severe and extreme emotional distress, punitive damages,

and reasonable attorneys’ fees, costs, and expenses incurred in the

prosecution of her NYCHRL claims, from Defendant YU.

                     COUNT FOUR:
    VIOLATION OF NYCHRL, N.Y.C. ADMIN. CODE § 8-107(7)
      “RETALIATION” (AGAINST YESHIVA UNIVERSITY)

      337. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

      338. N.Y.C. Admin. Code § 8-107(7) (“Retaliation”), provides that

“[i]t shall be unlawful discriminatory practice for any person engaged in any

activity to which this chapter applies to retaliate or discriminate against any


                                                                    92 | P a g e
person because such person has (i) opposed any practice forbidden under

this chapter …; (v) requested a reasonable accommodation under this

chapter …”

      339. As set forth above, Plaintiff opposed and complained about

YU’s discrimination against Plaintiff, which is a practice forbidden by the

NYCHRL,       and,    on   numerous      occasions,    requested    reasonable

accommodations from YU (i.e., with respect to her numerous requests for

YU to implement reasonable security measures), and attempted to appeal

YU’s “not responsible” determination with respect to PERRY DOE’s

conduct.

      340. YU, nonetheless, discriminated and retaliated, and continues to

discriminate and retaliate, against Plaintiff by: (1) continuing to deprive her

of a real, bona fide, fair, and impartial investigation of her rape allegations

against PERRY DOE; (2) continuing to deny her requests to appeal YU’s

“not responsible” determination with respect to PERRY DOE’s conduct; and

(3) continuing to deny her numerous requests for YU to provide her with

reasonable accommodations and implement reasonable security measures at

its Wilf Campus.

      341. Pursuant to § 8-107(7) of the NYCHRL, therefore, Plaintiff is

entitled to receive compensatory damages from YU.


                                                                    93 | P a g e
      342. YU’s conduct, and the conduct of YU’s agents and employees,

was willful, malicious, shocking, outrageous, and negatively affected the

emotional and physical health of Plaintiff, caused Plaintiff to suffer severe

emotional distress and mental anguish, and gives rise to egregious emotional

distress damages.

      343. YU engaged in retaliation and discrimination against Plaintiff

by, inter alia, failing to conduct a real, bona fide, fair, and impartial

investigation of her rape allegations against PERRY DOE, failing to provide

Plaintiff with any ability to appeal YU’s predetermined finding of “not

responsible,” and failing to provide Plaintiff with any reasonable

accommodations, including implementing reasonable security measures at

YU’s Wilf Campus.

      344. YU thus engaged in retaliation and discrimination against

Plaintiff on the basis of sex with willful and wanton negligence or

recklessness, as well as a conscious disregard of the rights of others, and/or

engaged in conduct so reckless as to amount to such disregard.

      345. At all material times, Defendants had knowledge that their

conduct towards Plaintiff, and their retaliation and discrimination against

her, was in violation of city, state, and federal anti-discrimination laws.




                                                                      94 | P a g e
      346. As a result of YU’s violation of § 8-107(7) of the NYCHRL,

Plaintiff is entitled to punitive damages.

      347.    Plaintiff, pursuant to N.Y.C. Admin. Code § 8-502(g), and

related authority, also seeks and is entitled to receive all reasonable

attorneys’ fees, costs, and expenses, to be incurred in connection with her

NYCHRL claims.

      348. Plaintiff is thus entitled to compensatory damages, including

damages for her severe and extreme emotional distress, punitive damages,

and reasonable attorneys’ fees, costs, and expenses incurred in the

prosecution of her NYCHRL claims, from Defendant YU.

                      COUNT FIVE:
   VIOLATION OF NYCHRL, N.Y.C. ADMIN. CODE § 8-107(6),
 “AIDING AND ABETTING” (AGAINST ANDREW “AVI” LAUER,
      ESQ., CHAIM NISSEL, SEYFARTH SHAW, LLP, DOV
        KESSELMAN, ESQ. AND EMILY MILLER, ESQ.)

      349. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

      350. N.Y.C. Admin. Code § 8-107(6) (“Aiding and Abetting”),

provides that “[i]t shall be an unlawful discriminatory practice for any

person to aid, abet, incite, compel or coerce the doing of any of the acts

forbidden under this chapter, or to attempt to do so.”




                                                                 95 | P a g e
      351. Plaintiff has valid claims for discrimination and retaliation

against YU in violation of NYCHRL (Sections 8-107(4) and 8-107(7)).

      352. As set forth above, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller each actively participated in, and had a direct and

primary role with significant responsibilities, in YU’s discrimination against

Plaintiff in violation of § 8-107(4).

      353.    As set forth above, Defendants, Lauer, Nissel, Seyfarth,

Kesselman, and Miller each actively participated in, and had a direct and

primary role with significant responsibilities, in YU’s retaliation and

discrimination against Plaintiff in violation of § 8-107(7).

      354. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller, were in charge of, or had vital roles in YU’s sham

“investigation” as to Plaintiff’s alleged rape by PERRY DOE.

      355. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller, were involved in YU’s sham “investigation” as to

Plaintiff’s Title IX Complaint regarding her alleged rape by PERRY DOE,

and   participated    in,   developed,   formulated     and/or   ratified   said

“investigation’s” processes, procedures, rules, findings, conclusions, and

determinations.




                                                                     96 | P a g e
      356. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller intentionally and maliciously conducted, participated

in, and/or ratified a sham investigation that (1) was specifically designed to

shield and protect PERRY DOE from any serious consequences for his

sexual harassment and sexual abuse of Plaintiff; and (2) retaliated against

Plaintiff for making such charges against PERRY DOE by refusing to

provide her with any supportive measures and refusing to permit Plaintiff to

appeal YU’s “not responsible” determination.

      357. At all material times, therefore, Defendants Lauer, Nissel,

Seyfarth, Kesselman, and Miller “aided and abetted” Defendant YU’s harm

to Plaintiff’s rights and interests in violation of § 8-107(6) of the NYCHRL.

      358. For the reasons set forth above, pursuant to § 8-107(6) of the

NYCHRL, Plaintiff is entitled to receive compensatory damages from

Defendants Lauer, Nissel, Seyfarth, Kesselman, and Miller.

      359. The conduct of Defendants Lauer, Nissel, Seyfarth, Kesselman,

and Miller was willful, malicious, shocking, outrageous, and negatively

affected the emotional and physical health of Plaintiff, caused Plaintiff to

suffer emotional distress and mental anguish, and gives rise to egregious

emotional distress damages.




                                                                    97 | P a g e
      360. Defendants, Lauer, Nissel, Seyfarth, Kesselman, and Miller

aided and abetted YU’s discrimination and retaliation against Plaintiff on the

basis of her sex with willful and wanton negligence or recklessness, as well

as conscious disregard of the rights of others, and/or engaged in conduct so

reckless as to amount to such disregard.

      361. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller had knowledge that their conduct towards Plaintiff,

and their willful participation in YU’s sham investigation of Plaintiff’s rape

allegations, aided and abetted YU’s violations of city, state, and federal anti-

discrimination laws, in violation of § 8-107(6).

      362. As a result of Defendants Lauer, Nissel, Seyfarth, Kesselman,

and Miller’s violations of § 8-107(6) of the NYCHRL, Plaintiff is entitled to

punitive damages.

      363. Plaintiff, pursuant to N.Y.C. Admin. Code § 8-502(g), and

related authority, also seeks and is entitled to receive all reasonable

attorneys’ fees, costs, and expenses, to be incurred in connection with her

NYCHRL claims.

      364. Plaintiff is thus entitled to compensatory damages, including

damages for her severe and extreme emotional distress, punitive damages,

and reasonable attorneys’ fees, costs, and expenses incurred in the


                                                                     98 | P a g e
prosecution of her NYCHRL “aiding and abetting” claims, from Defendants

Lauer, Nissel, Seyfarth, Kesselman, and Miller.

                         COUNT SIX:
            BREACH OF FIDUCIARY DUTIES (AGAINST
            YESHIVA UNIVERSITY and CHAIM NISSEL)

      365. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

      366. Under New York law, a fiduciary relation exists between two

persons when one of them is under a duty to act or give advice for the

benefit of the other upon matters within the scope of relation.

      367. Here, at all material times, Plaintiff had a fiduciary relationship

(and special relationship), with YU and Defendant Nissel, and YU and

Defendant Nissel owed fiduciary duties to Plaintiff, because it is obvious

that Plaintiff relied on YU and Defendant Nissel and reasonably trusted YU

and Defendant Nissel to act reasonably, honestly, and fairly with respect to

Plaintiff’s participation in YU’s educational programs and activities, and

especially with respect to her participation in her Title IX Complaint to

YU’s Title IX Office following her rape by PERRY DOE.

      368. At all material times, the relationship between Plaintiff and YU

and Defendant Nissel was one in which: (1) Plaintiff had extreme

vulnerability to YU and Defendant Nissel, which (2) resulted in the


                                                                   99 | P a g e
empowerment of YU and Defendant Nissel, the stronger parties, by Plaintiff,

the weaker party, (3) which empowerment had been solicited and accepted

by YU and Defendant Nissel, and (4) prevented Plaintiff from effectively

protecting herself with respect to her participation in YU’s education

programs and activities and YU’s and Defendant Nissel’s “investigation”

and dismissal of her Title IX Complaint.

      369. To the extent that Plaintiff and YU had themselves engaged in a

contract for Plaintiff to attend YU as a student, the fiduciary duties of YU

arising from that contract were independent of that contract.

      370. At all material times, Plaintiff placed and reposed great trust

and confidence in YU and Defendant Nissel and reasonably relied upon

YU’s and Defendant Nisell’s superior expertise or knowledge with respect

to the issues of Plaintiff’s Title IX Complaint, YU’s “investigation” of

Plaintiff’s rape allegations, and the mandated rules, regulations, and

procedures with respect thereto.

      371. At all material times, YU and Defendant Nissel owed duties to

Plaintiff to fully disclose material facts related to the applicability of Title IX

to her rape complaint and the blatant conflicts of interests and biases of the

Seyfarth attorneys in favor of YU and PERRY DOE and against Plaintiff.




                                                                       100 | P a g e
       372. YU and Defendant Nissel, by their aforesaid acts and

omissions, including their failures to disclose to Plaintiff that Title IX was in

fact applicable to her rape allegations, that all Title IX rules, regulations, and

procedures should have governed and dictated the form and content of YU’s

investigation of Plaintiff’s rape allegations, and that the Seyfarth attorneys

(Seyfarth, Kesselman, and Miller) had glaring and obvious conflicts of

interest and biases in favor of YU and PERRY DOE and against Plaintiff

which should have disqualified them from serving as “investigators” of

Plaintiff’s rape complaint against PERRY DOE, breached their fiduciary

duties to Plaintiff.

       373. As a direct and proximate result of YU’s and Defendant

Nissel’s breach of fiduciary duties to Plaintiff, Plaintiff has suffered, and

continues to suffer, severe emotional distress, mental anguish, and pain and

suffering.

       374. At all material times, YU’s and Defendant Nissel’s conduct

towards Plaintiff was willful, wanton, intentional, and malicious, and

constituted evil-minded acts accompanied by a wanton and willful disregard

of Plaintiff’s rights, interests, and welfare, and was seriously harmful to the

public—which has a compelling interest in ensuring that college and

university students within the community—including Plaintiff—be given a


                                                                      101 | P a g e
full and fair opportunity to enjoy the benefits of higher education free from

fraud, retaliation (for reporting rape and sexual abuse), violations of her civil

rights, and other gross misconduct.

      375. The aforesaid conduct of YU and Defendant Nissel entitles

Plaintiff to receive punitive damages, as well as compensatory damages.

                     COUNT SEVEN:
     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              (AGAINST EACH DEFENDANT)

      376. Plaintiff repeats and realleges each of the above-stated

paragraphs of this Complaint as if fully set forth herein.

      377. As described herein, the Defendants’ conduct towards Plaintiff,

a member in good-standing in a YU education program, who had the great

misfortune of being raped and sexually abused by PERRY DOE, a YU

undergraduate student, was extreme and outrageous.

      378. The Defendants’ conduct against Plaintiff was so outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of

decency, and to be regarded as atrocious, and utterly intolerable in a

civilized community.

      379. The Defendants’ aforesaid conduct against Plaintiff, in which

the Defendants conspired to cover-up Plaintiff’s rape allegations, conducted

a sham investigation that ignored probative evidence that supported


                                                                     102 | P a g e
Plaintiff’s account of the incident, and rendered a preordained “not

responsible” verdict against PERRY DOE, was intended to cause, or made

with a disregard of the probability of causing, Plaintiff to suffer severe

emotional distress.

      380. Plaintiff, in fact, suffered severe emotional distress as a direct

and proximate result of the Defendants’ aforesaid acts and omissions.

      381. By reason of the foregoing, and as a direct and proximate result

of the Defendants’ conduct, Plaintiff sustained physical and psychological

injuries, including but not limited to, severe emotional distress, depression,

humiliation, embarrassment, fright, anger, anxiety, and has been caused to

suffer pain and mental anguish, emotional and psychological damage as a

result thereof, and, upon information and belief, some or all of these injuries

are of a permanent and lasting nature.

      382. At all material times, the Defendants’ conduct towards Plaintiff

was willful, wanton, intentional, and malicious, and constituted evil-minded

acts accompanied by a wanton and willful disregard of Plaintiff’s rights,

interests, and welfare, and was seriously harmful to the public—which has a

compelling interest in ensuring that college and university students within

the community—including Plaintiff—be given a full and fair opportunity to

enjoy the benefits of higher education free from sexual assault, fraud,


                                                                   103 | P a g e
retaliation (for reporting rape and sexual abuse), violations of her civil

rights, and other gross misconduct.

      383. The aforesaid conduct of the Defendants entitles Plaintiff to

receive punitive damages, as well as compensatory damages.

                     COUNT EIGHT:
     DECEPTIVE PRACTICES IN VIOLATION OF NEW YORK
     GENERAL BUSINESS LAW § 349 (DECEPTIVE ACTS AND
        PRACTICES) (AGAINST YESHIVA UNIVERSITY)

      384. Plaintiff repeats and realleges each of the allegations contained

in this Complaint as if each said allegation has been set forth at length.

      385. New York General Business Law (“GBL”) § 349 prohibits

deceptive and misleading business practices, and its scope is broad.

      386. GBL § 349 on its face applies to virtually all economic activity.

      387. GBL § 349 applies to educational services and/or goods

provided to educational consumers by private universities like YU.

      388. GBL § 349 thus encompasses a significantly wider range of

deceptive business practices that were never previously condemned by

decisional law. Indeed, GBL § 349 was intended to be broadly applicable,

extending far beyond the reach of common law fraud.

      389. At all material times, Plaintiff (as well as her parents) were

consumers of educational services.



                                                                     104 | P a g e
      390. At all material times, YU engaged in a broad-based marketing

scheme, which was designed to induce Jewish students to enroll in, and

complete, their post-secondary and graduate studies at YU.

      391. Said marketing scheme appealed, inter alia, to young Jewish

women who lived in the New York tri-state area, as well as young Jewish

women who lived in other states and abroad.

      392. The YU marketing scheme included, each and every year from

2001 to 2020, YU’s Security Reports for each campus at YU, including

YU’s Wilf Campus.

      393. At all material times, as stated above and otherwise, YU made

material misrepresentations to Plaintiff (and her parents), as well as every

other female student at YU, and thousands of prospective female students or

applicants, by making false, deceptive, misleading, and fraudulent

statements in its Security Reports as to the number and frequency of sex

crimes (i.e., rape and forcible fondling) that occurred on or near YU’’s

campuses, including YU’s Wilf Campus.

      394. Upon information and belief, at all material times, YU knew

that the above representations were false in that, inter alia:

             (i)    YU knew that numerous female students had been raped

                    and/or sexually assaulted on or near YU’s campuses


                                                                 105 | P a g e
        (including YU’s Wilf Campus) from 2001 through

        January 24, 2021.

(ii)    Many of these rapes and sexual assaults were reported to,

        and otherwise known by, YU and YU administrators

        and/or directors.

(iii)   YU and its administrators and directors made the craven

        but conscious decision to conceal their knowledge of

        these rapes and sexual assaults from female students at

        YU (including Plaintiff), parents, and thousands of

        prospective female students and applicants.

(iv)    YU knew that information on rapes and sexual assaults

        on or near YU’s campuses (including Wilf Campus)

        would have had an impact on the decision of prospective

        students and students, including Plaintiff, to apply for

        admission and enroll as students at YU, or to continue

        their studies at YU.

(vii) YU and its administrators intended to misrepresent the

        safety of the school’s campuses in order to induce female

        students (including Plaintiff) to enroll at YU and to

        induce students already enrolled at YU (including


                                                      106 | P a g e
                     Plaintiff) to continue their studies at YU’s undergraduate

                     and graduate education programs.

      395. Each of YU’s aforesaid misrepresentations was likely to

mislead and deceive a reasonable consumer acting reasonably under the

circumstances.

      396. YU’s aforesaid conduct constitutes consumer-oriented conduct

in that YU engaged in acts or practices that had and continue to have a broad

impact on consumers at large, not just Plaintiff.

      397. Every female student who attended YU, and every prospective

female student considering YU as her college or university program, was

impacted by YU’s aforesaid deceptive practices. This is especially true of

the numerous female students, from 2001 through 2022, who attended YU

and were raped and sexually assaulted on or near YU’s campuses, including

YU’s Wilf Campus.

      398. Each of the aforesaid misrepresentations related to YU’s

campus safety, and prevalence of sex crimes on or near YU’s campuses, was

likely to mislead and deceive a reasonable consumer acting reasonably under

the circumstances.

      399. In determining what types of conduct may be deceptive

practices under New York law, New York courts should apply an objective


                                                                   107 | P a g e
standard which asks whether the representation or omission was likely to

mislead a reasonable consumer acting reasonably under the circumstances,

taking into account not only the impact on the average consumer, but also on

the vast multitude which the statutes were enacted to safeguard—including

the ignorant, the unthinking and the credulous who, in making purchases, do

not stop to analyze, but are governed by appearances and general

impressions.

       400. Here, YU took great pains, at great expense, to make sure that

appearances and general impressions, buttressed by a bombardment of

positive yet false representations about campus safety and sex crimes on or

near YU’s campuses, would lead a reasonable education consumer into

thinking that YU provided female students a chance to obtain an exemplary

post-secondary and/or graduate education, rooted in Jewish traditions, in a

safe and nurturing environment.

       401. YU thus engaged in “deceitful conduct” in violation of GBL §

349.

       402. The aforesaid conduct of YU evinces a high degree of moral

culpability, was so flagrant as to transcend mere carelessness, constitutes

willful and wanton negligence or recklessness, and thus gives rise to

punitive damages.

                                                                 108 | P a g e
      403. Moreover, as a result of the YU’s violation of GBL § 349,

Plaintiff is entitled to receive treble damages, compensatory damages, as

well as reasonable attorneys’ fees, pursuant to GBL § 349 (h), and/or other

authority.

      404. Plaintiff is entitled to receive compensatory damages against

YU, treble damages, punitive damages, and reasonable attorneys’ fees, costs,

and expenses incurred in the prosecution of these claims.

                      COUNT NINE:
      FALSE ADVERTISING IN VIOLATION OF NEW YORK
     GENERAL BUSINESS LAW § 350 (FALSE ADVERTISING)
             (AGAINST YESHIVA UNIVERSITY)

      405. Plaintiff repeats and realleges each of the allegations contained

in this Complaint as if each said allegation has been set forth at length.

      406. New York General Business Law (“GBL”) § 350 (False

Advertising) prohibits false advertising “in the conduct of any business,

trade or commerce or in the furnishing of any service.”

      407. GBL § 350-a(1) defines false advertising as advertising that is

“misleading in a material respect.”

      408. Pursuant to the aforesaid acts and omissions, particularly with

respect to the reporting of crimes that were published in YU’s annual




                                                                     109 | P a g e
Security Reports, YU engaged in “false advertising” in violation of GBL §

350.

       409. The aforesaid conduct of YU evinces a high degree of moral

culpability, was so flagrant as to transcend mere carelessness, constitutes

willful and wanton negligence or recklessness, and thus gives rise to

punitive damages.

       410. Moreover, as a result of the YU’s violation of GBL § 350,

Plaintiff is entitled to receive treble damages, compensatory damages, as

well as reasonable attorneys’ fees, pursuant to GBL § 349 (h), and/or other

authority.

       411. Plaintiff is entitled to receive compensatory damages against

YU, treble damages, punitive damages, and reasonable attorneys’ fees, costs,

and expenses incurred in the prosecution of these claims.

                           COUNT TEN:
             VIOLATION OF N.Y. EXECUTIVE LAW, § 296(7)
                  (AGAINST YESHIVA UNIVERSITY)

       412. Plaintiff hereby repeats and realleges each of the allegations in

this Complaint as if each has been fully set forth at length.

       413. Claims under the New York Human Rights Law are evaluated

under the same standards as analogous claims under Title IX.




                                                                  110 | P a g e
       414. New York Executive Law § 296(7) provides that:

                It shall be unlawful discriminatory practice for any person
                engaged in any activity to which this section applies to retaliate
                or discriminate against any person because he…has opposed
                any practice under this article or because he…has filed a
                complaint, testified or assisted in any proceeding under this
                article.

       415. Section 296(7) applies to “persons,” which, pursuant to New

York Executive Law § 292(1), include “individuals, partnerships,

associations, corporations, legal representatives, trustees, trustees in

bankruptcy, or receivers.”

       416. Defendant YU, moreover, is a “corporation” under New York

law.

       417. New York Executive Law § 296 prohibits any person, including

a school or university, from discriminating against any other person on the

basis of sex.

       418. For the reasons set forth above, YU discriminated and retaliated

against Plaintiff, in violation of New York Executive Law § 296(7), because,

inter alia, she opposed and complained of PERRY DOE’s rape (which in

itself constituted discrimination and harassment), filed a formal complaint

against PERRY DOE with YU’s Title IX Office, requested that YU

implement reasonable security measures at YU’s Wilf Campus, and sought



                                                                      111 | P a g e
to appeal YU’s “not responsible” determination with respect to PERRY

DOE’s conduct.

      419. Pursuant to New York Executive Law § 296(7), therefore,

Plaintiff is entitled to recover compensatory damages, including damages for

egregious emotional distress and mental anguish, from YU.

                      COUNT ELEVEN:
          VIOLATION OF N.Y. EXECUTIVE LAW, § 296(4)
               (AGAINST YESHIVA UNIVERSITY)

      420. Plaintiff hereby repeats and realleges each of the allegations

contained in this Complaint as if each has been fully set forth at length.

      421. Claims under the New York Human Rights Law are evaluated

under the same standards as analogous claims under Title IX.

      422. New York Executive Law § 296(4) provides that:

             It shall be unlawful discriminatory practice for an
             educational institution . . . to permit the harassment
             of any student . . . by reason of her . . . sex or
             status as a victim of domestic violence[.]

      423. Section 296(4) applies to “educational institutions,” which

includes private colleges and universities, like Yeshiva University, which are

not under the supervision of the regents of the State of New York and are not

otherwise public schools.




                                                                      112 | P a g e
      424. New York Executive Law § 296 prohibits any person, including

a school or university, from discriminating against any other person on the

basis of sex.

      425. For the reasons set forth above, in violation of New York

Executive Law § 296(4), YU discriminated against Plaintiff on the basis of

her sex and gender.

      426. Pursuant to New York Executive Law § 296(4), therefore,

Plaintiff is entitled to recover compensatory damages, including damages for

egregious emotional distress and mental anguish, from YU.

                     COUNT TWELVE:
      VIOLATION OF NEW YORK EXECUTIVE LAW § 296(6)
                (“AIDING AND ABETTING”):
     AGAINST ANDREW “AVI” LAUER, ESQ., CHAIM NISSEL,
                  SEYFARTH SHAW, LLP,
       DOV KESSELMAN, ESQ., and EMILY MILLER, ESQ.

      427. Plaintiff hereby repeats and realleges each of the allegations

contained in this Complaint as if each has been fully set forth at length.

      428. Section 296(6) of the New York Executive Law provides that

“It shall be an unlawful discriminatory practice for any person to aid, abet,

incite, compel or coerce the doing of any acts forbidden under this article, or

to attempt to do so.”




                                                                    113 | P a g e
      429. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller, were in charge of, or had vital roles YU’s sham

“investigation” as to Plaintiff’s alleged rape by PERRY DOE.

      430. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller, were involved in YU’s sham “investigation” as to

Plaintiff’s Title IX Complaint regarding her alleged rape by PERRY DOE,

and   participated   in,   developed,   formulated   and/or    ratified   said

“investigation’s” processes, procedures, rules, findings, conclusions and

determinations.

      431. At all material times, Defendants Lauer, Nissel, Seyfarth,

Kesselman, and Miller: (1) intentionally and maliciously conducted,

participated in, and/or ratified a sham investigation that was specifically

designed to shield and protect PERRY DOE from any serious consequences

for his sexual harassment and sexual abuse of Plaintiff, and to protect

Yeshiva University from any reputational damage that could result from a

finding that a YU student had raped another YU student; and (2) retaliated

against Plaintiff for making such charges against PERRY DOE by failing to

conduct a fair and impartial investigation of her rape allegations against

PERRY DOE, refusing to provide her with any reasonable supportive

measures that would protect her at YU’s Wilf Campus, and failing to permit


                                                                  114 | P a g e
her to appeal YU’s “not responsible” determination with respect to PERRY

DOE’s conduct.

         432. At all material times, therefore, Defendants Lauer, Nissel,

Seyfarth, Kesselman, and Miller “aided and abetted” Defendant YU’s harm

to Plaintiff’s rights and interests in violation of New York Executive Law §

296(6).

         433. For the reasons set forth above, pursuant to New York

Executive Law § 296(6), Plaintiff is entitled to recover compensatory

damages, including damages for egregious emotional distress and mental

anguish, from YU.

                          COUNT THIRTEEN:
                        BREACH OF CONTRACT
                    (AGAINST YESHIVA UNIVERSITY)

         434. Plaintiff repeats and realleges each of the allegations contained

in this Complaint as if each has been fully set forth at length.

         435. In New York, the relationship between a university and its

students is contractual in nature.

         436. When a student is admitted into a university, an implied

contract arises between the parties which states that if the student complies

with the terms proscribed by the university, she will obtain the degree she

seeks.


                                                                    115 | P a g e
      437. The rights and obligations of the parties as contained in the

university’s bulletins, circulars, regulations, and policy statements made

available to the student, become a part of this contract.

      438. The rights and obligations of Yeshiva University and Plaintiff

contained in YU’s “Non-Discrimination and Anti-Harassment Policy &

Complaint Procedures,” updated December 31, 2020 (Ex. B hereto), are part

of such a contract between YU and Plaintiff.

      439. YU breached such contract with Plaintiff by violating and

failing to honor the following specific promises made by YU to Plaintiff in

its Non-Discrimination Policy that are subject to quantification and/or

objective evaluation:

                (1) “YU will respond to all [student] complaints thoroughly,
                    fairly, and impartially.”

(Ex. B at 1).

                (2) “The University will make supportive measures available to
                    those reporting violations of the Policy…”

(Ex. B at 1).

                (3) “Upon receipt of a complaint, the University will conduct a
                    fair and impartial investigation into reported incidents of
                    discrimination or harassment, as well as sexual abuse/assault
                    … or other sexual misconduct.”

(Ex. B at 1).



                                                                     116 | P a g e
                (4) “The Title IX Coordinator will consider the individual’s
                    wishes with respect to implementing supportive measures,
                    and will consider the individual’s wishes with respect to
                    implementing supportive measures, and will notify
                    individuals of the availability of supportive measures with or
                    without filing a formal complaint.”

(Ex. B at 12).

                (5) “The alleged victim … will be afforded the rights set forth in
                    this Policy.”

(Ex. B at 1).

                (6) “The prohibition against Title IX Sexual Harassment …
                    applies to conduct that occurs in University premises and/or
                    at University-sponsored and affiliated activities and events,
                    whether on University premises or at other locations … The
                    prohibition against Title IX Sexual Harassment … applies to
                    conduct that occurs in the University’s education programs
                    and activities. Education programs and activities include
                    locations, events or circumstances where the University
                    exercised substantial control over both the person accused
                    of the misconduct and the context which the harassment
                    occurred[.]”

(Ex. B at 4) (emphasis added).

                (7) “Title IX prohibits discrimination on the basis of sex in
                    education programs and activities in the United States.
                    Sexual harassment and sexual assault are forms of sex
                    discrimination prohibited by Title IX. The University has
                    designated an employee to coordinate its efforts to comply
                    with and carry out its responsibilities under Title IX. This
                    employee is called the Title IX Coordinator and is
                    responsible for ensuring Title IX compliance at the
                    University, as well as compliance with this Policy. The
                    Title IX Coordinator is responsible for the effective
                    implementation of security measures … The Title IX
                    Coordinator is responsible for ensuring the prompt and
                                                                      117 | P a g e
                  equitable resolution of all Title IX complaints and other
                  complaints under this Policy, identifying and addressing any
                  patterns of systemic problems that are found based on
                  review of such complaints or otherwise, and providing
                  education and training about this Policy to the University
                  Community.”

(Ex. B at 11).

                 WITH RESPECT TO TITLE IX COMPLAINTS

             (8) “Upon receipt of a complaint involving Title IX Sexual
                Harassment, other sexual Misconduct, or any other violation
                of this Policy …, a fair and impartial investigation will
                commence in accordance with the procedures set forth in
                this Policy.”

(Ex. B at 16).

             (9) “The parties will be notified of such additional information
                 as required by the applicable Appendix B [for “Formal
                 Resolution of Complaints Involving Title IX Sexual
                 Harassment, Including Sexual Abuse/Assault, Stalking,
                 Domestic Violence and Dating Violence”] or C [for “Formal
                 Resolution of Complaints Not Involving Title IX Sexual
                 Harassment].”

(Ex. B at 16).

         (10) “In all cases, the complainant and respondent will be
              provided with equal opportunity to present witnesses (fact
              and expert), as well as inculpatory and exculpatory
              evidence.”

(Ex. B at 16-17)

         (11) “For all investigations into allegations of Title IX Sexual
              Harassment, both the complainant and respondent shall have
              the right to appeal the outcome of the investigation as more
              fully described in Appendix B.”
                                                                   118 | P a g e
(Ex. B at 17).

          (12) “The Title IX Coordinator, Deputy Title IX Coordinator,
               Investigators, Decision-Makers, University administrators
               rendering decisions or sanctions and appeal, and any other
               person who facilitates an informal resolution process will
               receive training on the definition of Title IX Sexual
               Harassment, the scope of the University’s education
               program or activity, how to conduct an investigation and
               grievance process including hearings, appeals, and informed
               resolution processes …, and how to serve impartially,
               including by avoiding prejudgment of the facts at issue,
               conflicts of interest, and bias.”

(Ex. B at 21).

          (13) “The University will make materials used to train those
               individuals publicly available on its website.”

(Ex. B at 21 n. 3).

          (14) “Upon initial evaluation, if the Title IX Coordinator or that
               person’s designee determines that the alleged conduct: (even
               if proven), would not constitute Title IX Sexual
               Harassment…; [or] (2) did not occur in a University
               education program or activity …—then the University must
               dismiss the complaint with respect to that conduct[.] …
               Where a complaint is dismissed, the Title IX Coordinator or
               that person’s designee will notify both parties in writing of
               the dismissal and the reason(s) for it.”

(Ex. B at 30) (emphasis added).

          (15) “During the hearing portion of the [Title IX] formal
               complaint process, it is required that the complainant and
               respondent have an advisor. If a party does not have an
               advisor at that time, the University will select and provide an
               advisor at no fee or cost to the party.”


                                                                  119 | P a g e
(Ex. B at 30).

             (16) “The investigator … will promptly, fully, fairly, and
                  impartially investigate the complaint, and each party will
                  have equitable opportunities to present witnesses, and
                  review and present information and relevant inculpatory and
                  exculpatory evidence.”

(Ex. B at 31).

             (17) “The Investigator will provide the parties with periodic
                  status updates.”

(Ex. B at 31).

             (18) “The Investigator is responsible for gathering information
                  sufficient to reach a determination about the respondent’s
                  responsibility. The Investigator will review all information
                  gathered or provided by the parties and determine the
                  appropriateness, relevance and probative value of the
                  information developed or received during the investigation.”

(Ex. B at 31).

             (19) “LIVE HEARING

                      Upon receipt of the final investigative report from the
                      Investigator, the Title IX Coordinator or Deputy Coordinator
                      will identify a decision-maker to conduct a live hearing after
                      which the decision-maker will render a determination
                      regarding the respondent’s responsibility based on a
                      preponderance of the evidence (i.e., that it is more likely
                      than not that the Title IX Sexual Harassment occurred). The
                      parties will learn the decision-maker’s identity at least 48
                      hours prior to the hearing.4


4
  If either party is concerned that the decision-maker should be excluded for reasons of bias or conflict of
interest, the party should notify the Title IX Coordinator or Deputy Title IX Coordinator of the concern,
and that person will have the discretion to determine whether someone else should be assigned.


                                                                                            120 | P a g e
The decision-maker will schedule a hearing promptly after
his/her receipt of the investigative report. The decision-
maker will notify the parties as soon as practicable of the
date, time and place of the hearing. The hearing will be
closed to the public.

The live hearing will be conducted in real time. By request
of either party, the University will arrange so that the parties
are not in the same physical space during the hearing. In
such circumstances, the University will arrange for the use
of technology to enable all participants to see and hear the
witness or party answering questions in real time.

The University may elect on its own to conduct the live
hearing virtually, provided that all participants can
simultaneously see and hear each other. When a hearing is
conducted virtually, the University must still create an audio
or audiovisual recording, or transcript, of the virtual
proceeding and make it available to the parties for inspection
and review.

The decision-maker will set an agenda for the hearing,
including what order events will occur, how long statements
or questioning may last, and any other issues that the
decision-maker determines needs to be addressed.

Each party must have an advisor accompany them to the
hearing. The University will provide an advisor, without
fee, to any party who does not have one. At the hearing, the
advisor will have the opportunity to ask relevant questions
and follow-up questions of any party or witness (sometimes
referred to as “cross-examination”), including those
challenging credibility. Only an advisor may conduct cross-
examination—a party may not do so.

The decision-maker may choose to exclude any question on
cross-examination that he or she deems irrelevant—the
decision-maker must explain why the question is not
relevant. Questions and evidence about the complainant’s
prior sexual behavior are not relevant unless offered to prove
                                                    121 | P a g e
                 that someone other than the respondent committed the
                 alleged misconduct or concern specific incidents of the
                 complainant’s prior sexual behavior with respect to the
                 respondent and are offered to prove consent.

                 The decision-maker will not rely on any statement made by
                 someone who does not participate in the hearing or who
                 refuses to answer questions posed on cross-examination, but
                 the decision-maker will not draw any adverse inferences
                 from that person’s absence or refusal to answer questions.”

(Ex. B at 32).

         (20) “DECISION

                 As soon as practicable, the decision-maker will issue a
                 written decision simultaneously to each party regarding the
                 respondent’s responsibility bases on a preponderance of the
                 evidence. This written decision will: (i) identify the
                 allegations, (ii) describe the procedural steps taken from the
                 receipt of the formal complaint through the determination,
                 including any notifications to the parties, interviews with
                 parties and witnesses, site visits, methods used to gather
                 other evidence, and hearings held, (iii) identify findings of
                 fact that support the determination, (iv) make conclusions
                 regarding the application of this Policy to the facts, (v)
                 include a statement of, and rationale for, the results as to
                 each allegation, including a determination regarding
                 responsibility and any disciplinary sanctions the recipient
                 imposes on the respondent, (vi) provide information about
                 whether remedies designed to restore or preserve access to
                 the University’s education programs or activities will be
                 provided, and (vii) provide information about the procedures
                 for sanctioning (if applicable) and bases for appeal.

                 The University will audio record the live hearing, and upon
                 request, the Title IX Coordinator or Deputy Title IX
                 Coordinator will make a copy of the recording available to
                 the parties to review.


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                 Where a respondent is found responsible for any of the
                 alleged conduct, the parties will be provided with the
                 opportunity to submit an impact statement for the decision-
                 maker’s consideration during the sanctioning stage.

                 Impact statements should be submitted with 3 days of the
                 notice of the decision—and if submitted, will be shared with
                 the other party. In deciding an appropriate disciplinary
                 action, the decision-maker may consider the respondent’s
                 past violations of University policy, as well as the nature and
                 severity of the violation(s), the impact statements of the
                 parties, and any mitigating circumstances. The decision-
                 maker will decide the appropriate disciplinary actions as
                 soon as practicable. The Title IX Coordinator or Deputy
                 Title IX Coordinator will simultaneously notify the parties
                 as soon as practicable of the sanctions to be imposed, and
                 the right to appeal (as provided below).

                 The University expects all cases involving a finding of
                 sexual violence, stalking, domestic violence and dating
                 violence to involve consideration of suspension or expulsion
                 for students, and termination of employment for employees.
                 Other sanctions that may be imposed include a warning,
                 disciplinary probation, restriction from employment by the
                 University, removal from University housing, removal from
                 courses or activities, loss of privileges, no contact, exclusion
                 from areas of the campus and facilities, removal or non-
                 renewal of scholarships, a notation on respondent’s official
                 University transcript, community service, restitution, and a
                 fine. In addition, the respondent may also be required to
                 undergo an assessment and treatment by a therapist or
                 counselor, attend an intervention treatment program and/or
                 issue a letter of apology.

(Ex. B at 33).

         (21) For an appeal of a Title IX determination “[t]he Title IX
              Coordinator or Deputy Title IX Coordinator will appoint an
              appeal panel of two or more individuals … to review the


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                 matter. The appeal will be conducted in a fair and impartial
                 manner.”

(Ex. B at 34).

           WITH RESPECT TO NON-TITLE IX COMPLAINTS

         (22) “The Title IX Coordinator or Deputy Title IX Coordinator
              (or other designated investigator) will fully, fairly and
              impartially investigate the complaint, and each party equally
              will have the opportunity to present witnesses and other
              evidence to the investigator.”

(Ex. B at 35).

         (23) “The Title IX Coordinator or Deputy Title IX Coordinator
              will explore possible supportive measures with both
              parties.”

(Ex. B at 36).

         (24) “The Title IX Coordinator or Deputy Title IX Coordinator
              (or other designated investigator will endeavor, as promptly
              as feasible, to interview all relevant parties and review all
              evidence, including witnesses and evidence identified by the
              parties.”

(Ex. B at 36) (emphasis added).

         (25) “The Title IX Coordinator or Deputy Title IX Coordinator
              (or his/her designee) will provide the complainant with
              periodic status updates.”

(Ex. B at 36).

         (26) “The Title IX Coordinator or Deputy Title IX Coordinator
              (or other designated investigator) will compile a neutral
              investigative report[.]”

(Ex. B at 36).
                                                                  124 | P a g e
         (27) “Either party may appeal the decision of the Title IX
              Coordinator or Deputy Title IX Coordinator (or other
              designated investigator/person) or hearing officer as
              applicable, … to an Appeal Panel of two or more persons, or
              as otherwise may be required by applicable law, rules or
              regulation) selected by the Title IX Coordinator … (in
              consultation with the Office of the General Counsel)
              depending on the nature of the case and the parties
              involved.”

(Ex. B at 38).

         (28) “The Title IX Coordinator … (or other designated
              investigator/person) … may not serve on the Appeal Panel.”

(Ex. B at 38).

         (29) “The appeal will be conducted in a fair and impartial
              manner.”

(Ex. B at 38).

         (30) “The Appeal Panel (by majority vote of panelists, or by
              unanimous decision of less than 3 panelists) can affirm the
              original determination of responsibility, alter the
              determination of responsibility either in who or in part,
              and/or alter the sanctions, depending on the circumstances.
              The matter can also be referred back for further investigation
              or consideration of appropriate.”

(Ex. B at 39-39).

      440. Without excuse or justification, YU failed to abide any of the

specific promises that it made in its Policy (as set forth in each of the

preceding paragraphs).




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      441. At all material times, Plaintiff complied with all rules and

regulations for YU students as set forth in the Policy, as well as all other

codes of conduct promulgated by YU (i.e., YU’s Student Bill of Rights;

YU’s Policy on Protecting Student-Athletes; and YU’s Anti-Bullying

Policy).

      442. As a direct and proximate result of YU’s breaches of contract,

Plaintiff suffered, and continues to suffer, extreme emotional distress, pain,

and suffering and mental anguish.

      443. Accordingly, as Defendant YU breached its obligations under

its pertinent agreements with Plaintiff (including those as set forth in YU’s

Policy), Plaintiff is entitled to receive compensatory damages, including

damages for egregious emotional distress and mental anguish, from YU.

                      COUNT FOURTEEN:
             FRAUD: (AGAINST YESHIVA UNIVERSITY)

      444. Plaintiff repeats and realleges each of the allegations contained

in this Complaint as if each has been fully set forth at length.

      445. The Clery Act has, at all material times, imposed upon YU an

obligation to report and disclose to the U.S. Department of Education, all

YU students, and prospective YU students, all reported rapes and sexual

assaults that occurred on or near YU’s campuses (including YU’s Wilf

Campus).
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      446. Upon information and belief, numerous sexual assaults were

reported to the administration and Title IX Office of YU prior to Plaintiff’s

rape on January 24, 2021 (from 2001 to January 21, 2021), but YU

deliberately failed to report or disclose those reported attacks.

      447. One such sexual assault occurred, upon information and belief,

in 2018, and was reported directly to YU’s Title IX Office and Defendant

Nissel, YU’s Title IX Coordinator. This reported sexual assault was not

publicly disclosed by Yeshiva University as required by The Clery Act.

      448. Upon information and belief, Defendants Nissel and Lauer were

involved in implementing and/or executing YU’s policy and/or decisions to

not disclose reported sexual assaults as required by The Clery Act.

      449. YU’s failure to disclose reported sexual attacks, from 2001 to

2021, falsely gave female students (including Plaintiff) and prospective

female students (including Plaintiff) the impression that YU was safer than it

actually was.    Such information was material to Plaintiff’s decisions to

attend YU and to continue her studies at YU.

      450. Upon information and belief, YU’s Annual Security Report for

YU’s Wilf Campus, dated October 1, 2016, falsely and fraudulently reported

that ZERO forcible sexual offenses had occurred on or near YU’s Wilf

Campus in 2013, 2014, and 2015.


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      451. Upon information and belief, YU’s Annual Security Report for

YU’s Wilf Campus, dated October 1, 2017, falsely and fraudulently reported

that ZERO forcible sexual offenses had occurred on or near YU’s Wilf

Campus in 2014, 2015, and 2016.

      452. Upon information and belief, YU’s Annual Security Report for

YU’s Wilf Campus, dated October 1, 2018, falsely and fraudulently reported

that ZERO forcible sexual offenses had occurred on or near YU’s Wilf

Campus in 2015, 2016, and 2017.

      453. Upon information and belief, YU’s Annual Security Report for

YU’s Wilf Campus, dated October 1, 2019, falsely and fraudulently reported

that ZERO forcible sexual offenses had occurred on or near YU’s Wilf

Campus in 2016, 2017, and 2018.

      454. Upon information and belief, YU’s Annual Security Report for

YU’s Wilf Campus, dated October 1, 2020, falsely and fraudulently reported

that ZERO forcible sexual offenses had occurred on or near YU’s Wilf

Campus in 2017, 2018, and 2019.

      455. At all material times, YU deliberately and maliciously intended

to misrepresent, and did misrepresent, the safety of the school’s Wilf

Campus in order to induce female students, including Plaintiff, to enroll in

YU or to continue their studies there.


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      456. At all material times, YU deliberately and maliciously intended

to misrepresent, and did misrepresent (through, inter alia, the above-

referenced Campus Security Reports), the number of rapes and sexual

assaults that occurred on or near YU’s Wilf Campus, in order to induce

students, including Plaintiff, to enroll in YU or continue their studies there.

      457. At all material times, YU deliberately and maliciously intended

to misrepresent, and did misrepresent, the number of male YU students who

were credibly accused of raping and/or sexually assaulting female YU

students on or near YU’s Wilf Campus, in order to induce female students,

including Plaintiff, to enroll in YU or continue their studies there.

      458. At all material times, Plaintiff reasonably relied upon the false

impression of safety created by Yeshiva University, as memorialized by YU

in its false, misleading, and deceptive Campus Security Reports (as

referenced herein), in deciding: (1) to attend YU, (2) to continue her studies

at YU, and (3) where to travel to on or near YU’s Wilf Campus.

      459. As a direct and proximate result of YU’s false representations

and omissions, Plaintiff was fraudulently induced to enroll as a student at

YU, and to continue to attend YU and its education programs and activities,

and travel to and/or near YU’s Wilf Campus, as she reasonably believed that

YU’s Wilf Campus was a safe campus for female students with no recently


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reported sexual rapes or sexual assaults on or in close proximity to the

campus.

      460. As a direct and proximate result of Defendant YU’s fraud, and

YU’s abject failure to provide truthful and accurate sex crime information

and data, Plaintiff sustained physical injuries (i.e., her rape) and

psychological injuries, including severe emotional distress and mental

anguish.

      461. As a direct and proximate result of Defendants’ conduct,

Plaintiff has been required to obtain psychological care, treatment, and

therapy for her severe emotional distress and mental anguish, at considerable

costs, and will likely continue to need psychological care, treatment, and

therapy for a considerable period of time.

      462. By reason of the foregoing, and as a direct and proximate result

of the Defendants’ conduct, Plaintiff sustained physical and psychological

injuries, including but not limited to, severe emotional distress, depression,

humiliation, embarrassment, fright, anger, anxiety, and has been caused to

suffer pain and mental anguish, emotional and psychological damage as a

result thereof, and, upon information and belief, some or all of these injuries

are of a permanent and lasting nature.




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      463. At all material times, the Defendants’ conduct towards Plaintiff

was willful, wanton, intentional, and malicious, and constituted evil-minded

acts accompanied by a wanton and willful disregard of Plaintiff’s rights,

interests, and welfare, and was seriously harmful to the public—which has a

compelling interest in ensuring that college and university students within

the community—including Plaintiff—be given a full and fair opportunity to

enjoy the benefits of higher education free from sexual assault, fraud,

retaliation (for reporting rape and sexual abuse), violations of her civil

rights, and other gross misconduct.

      464. The aforesaid fraudulent conduct of the Defendants entitles

Plaintiff to receive punitive damages, as well as compensatory damages.

                           NOTE ON DAMAGES

      465. While Plaintiff will leave it to the jury to determine the

appropriate amount of the damages to which she is entitled, Plaintiff

emphasizes that Yeshiva University, in large part by covering up her

meritorious rape allegations against a YU basketball player, reaped a

substantial financial whirlwind in 2021 on the back of the considerable pain

and suffering and mental anguish that Defendants intentionally and

maliciously inflicted upon Plaintiff.




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      466. To wit, in 2021—the year YU blatantly and unconscionably

covered up Plaintiff’s rape by a YU basketball player—YU raised

approximately $92 million for its education programs and activities, as

opposed to the mere $30 million it raised in 2018.

      467. This $62 million differential, the poisonous fruit of YU’s

“values-based” fundraising effort, would not have been possible but for

YU’s calculated and well-coordinated cover-up of PERRY DOE’s rape of

Plaintiff—and should thus be considered by the fact-finder in determining

the appropriate damages award to which Plaintiff is entitled.

                         AD DAMNUM CLAUSE

      WHEREFORE, based on the aforesaid, Plaintiff hereby demands

judgment in her favor and against each of the Defendants, jointly and

severally, as follows:

      1.     As and for Count I, Violation of Title IX (against Yeshiva

University), a sum to be determined at trial in compensatory damages for

Plaintiff, and, pursuant to the Civil Rights Attorney’s Fees Awards Act of

1976, 42 U.S.C. § 1988, and/or any other appropriate authority, all

reasonable attorneys’ fees, costs, and expenses, incurred in the prosecution

of this case; and




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      2.     As and for Count II, Retaliation in Violation of Title IX

(against Yeshiva University), a sum to be determined at trial in

compensatory damages for Plaintiff, and, pursuant to the Civil Rights

Attorney’s Fees Awards Act of 1976, 42 U.S.C. § 1988, and/or any other

appropriate authority, all reasonable attorneys’ fees, costs, and expenses,

incurred in the prosecution of this case; and

      3.     As and for Count III, Violation of New York City Human

Rights Law, N.Y.C. Admin. Code § 8-107(4), (against Yeshiva University),

a sum to be determined at trial in compensatory damages for Plaintiff, a sum

to be determined at trial in punitive damages for Plaintiff, and, pursuant to

New York City Human Rights Law, N.Y.C. Admin. Code § 8-502(g) and/or

any other appropriate authority, all reasonable attorneys’ fees, costs, and

expenses, incurred in the prosecution of this case; and

      4.     As and for Count IV, Retaliation in Violation of New York City

Human Rights Law, N.Y.C. Admin. Code § 8-107(7), (against Yeshiva

University), a sum to be determined at trial in compensatory damages for

Plaintiff, a sum to be determined at trial in punitive damages for Plaintiff,

and, pursuant to New York City Human Rights Law, N.Y.C. Admin. Code §

8-502(g) and/or any other appropriate authority, all reasonable attorneys’

fees, costs, and expenses, incurred in the prosecution of this case; and

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      5.     As and for Count V, Violation of New York City Human

Rights Law, N.Y.C. Admin. Code § 8-107(6) (“Aiding and Abetting”)

(against Andrew “Avi” Lauer, Esq., Chaim Nissel, Seyfarth Shaw, LLP,

Dov Kesselman, Esq., and Emily Miller, Esq.), a sum to be determined at

trial in compensatory damages for Plaintiff, a sum to be determined at trial

in punitive damages for Plaintiff, and, pursuant to New York City Human

Rights Law, N.Y.C. Admin. Code § 8-502(g) and/or any other appropriate

authority, all reasonable attorneys’ fees, costs, and expenses, incurred in the

prosecution of this case; and

      6.     As and for Count VI, Breach of Fiduciary Duties (against

Yeshiva University and Chaim Nissel), a sum to be determined at trial in

compensatory damages for Plaintiff, and a sum to be determined at trial in

punitive damages for Plaintiff, and

      7.     As and for Count VII, Intentional Infliction of Emotional

Distress, (against all Defendants), a sum to be determined at trial in

compensatory damages for Plaintiff, and a sum to be determined at trial in

punitive damages for Plaintiff, and

      8.     As and for Count VIII, Violation of New York General

Business Law § 349 (Deceptive Acts and Practices), (against Yeshiva

University), a sum to be determined at trial for Plaintiff in compensatory


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damages, treble damages (in the amount and to the extent appropriate), and,

pursuant to New York General Business Law § 349(h), and/or other

appropriate authority, all reasonable attorneys’ fees, costs, and expenses,

incurred in the prosecution of this case;

      9.     As and for Count IX, Violation of New York General Business

Law § 350 (False Advertising), (against Yeshiva University), a sum to be

determined at trial in compensatory damages for Plaintiff, treble damages (in

the amount and to the extent appropriate), and, pursuant to New York

General Business Law § 349(h), and/or other appropriate authority, all

reasonable attorneys’ fees, costs, and expenses, incurred in the prosecution

of this case; and

      10.    As and for Count X, Violation of New York Executive Law §

296(7), (against Yeshiva University), a sum to be determined at trial in

compensatory damages for Plaintiff; and

      11.    As and for Count XI, Violation of New York Executive Law §

296(4), (against Yeshiva University), a sum to be determined at trial in

compensatory damages for Plaintiff; and

      12.    As and for Count XII, Violation of New York Executive Law §

296(6) (“Aiding and Abetting”), (against Andrew “Avi” Lauer, Esq., Chaim

Nissel, Seyfarth Shaw, LLP, Dov Kesselman, Esq., and Emily Miller, Esq.),


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a sum to be determined at trial in compensatory damages for Plaintiff; and

      13.    As and for Count XIII, Breach of Contract (against Yeshiva

University), a sum to be determined at trial in compensatory damages for

Plaintiff; and

      14.    As and for Count XIV, Fraud (against Yeshiva University), a

sum to be determined at trial in compensatory damages for Plaintiff, and a

sum to be determined at trial in punitive damages for Plaintiff; and

      15.    Any pre-judgment interest to which Plaintiff is entitled; and

      16.    A declaratory judgment declaring and adjudging Defendant,

Yeshiva University, to be in violation of The Clery Act for false, fraudulent,

and inaccurate reporting of campus crime data and statistics to the United

States Department of Education, from 2001 through 2021; and

      17.    A declaratory judgment declaring that the Non-Disclosure

Agreement executed by Plaintiff on April 29, 2021 (Ex. G hereto) is in

violation of The Clery Act, null and void, and of no force and effect.

      18.    Any other, different or further relief as this Honorable Court

may deem just, proper, or necessary.




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                   DEMAND FOR TRIAL BY JURY

     Plaintiff hereby demands a trial by jury of all issues so triable.

Dated: June 27, 2022
       Orangeburg, New York


                                 Respectfully submitted,

                                 KEVIN T. MULHEARN, P.C.

                                 Kevin T. Mulhearn /S
                                _________________________________
                                KEVIN T. MULHEARN (KM 2301)
                                DARREN J. EPSTEIN (OF COUNSEL)

                                60 Dutch Hill Road, Suite 6B
                                Orangeburg, New York 10962
                                (845) 613-7059
                                kmulhearn@ktmlaw.net

                                Attorneys for Plaintiff, JANE DOE




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